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 11
 12                      UNITED STATES DISTRICT COURT
 13                     CENTRAL DISTRICT OF CALIFORNIA
 14
 15    JANETTE BECKMAN, an individual,          Case No. ______________
       and LEEANNE HANSEN, an
 16    individual,                              DEFENDANTS AMERICAN
                                                AIRLINES GROUP INC. AND
 17                     Plaintiffs,             AMERICAN AIRLINES, INC.’S
                                                NOTICE OF REMOVAL
 18          v.
                                                [Filed concurrently with Declaration
 19    AMERICAN AIRLINES GROUP,                 of Kelly Wood; Declaration of
       INC., a Delaware corporation,            Marjorie Powell; Declaration of
 20    AMERICAN AIRLINES, INC., a               Cameron Binion; Declaration of
       Delaware corporation, SIGSBEE            Sigsbee Nelson; Declaration of
 21                                             Mathew Diedrick; Request for
       “JOHN” NELSON, an individual,
       CAMERON BINION, an individual,           Judicial Notice; Certificate of
 22                                             Interested Parties; Corporate
       TIM MCCANN, an individual and            Disclosure Statement; and Civil Case
 23    DOES 1 through 50, inclusive,            Cover Sheet]
 24                     Defendants.             (28 U.S.C. §§ 1332(a) and 1441(a)
                                                and (b))
 25
                                                (Los Angeles County Superior Court
 26                                             Case No. 20STCV25029)
 27
 28
                                                     DEF. AMERICAN AIRLINES GROUP INC.
                                                          AND AMERICAN AIRLINES, INC.’S
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  1   TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT
  2   COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA AND TO
  3   PLAINTIFFS AND PLAINTIFFS’ ATTORNEYS OF RECORD:
  4         Pursuant to 28 U.S.C. § 1446(a), defendants American Airlines Group Inc.
  5   (“AAG”) and American Airlines, Inc. (“American”) invoke this Court’s jurisdiction
  6   under the provisions of 28 U.S.C. §§ 1332(a) and 1441(a) and (b) and state the
  7   following grounds for removal:
  8         1.     On July 2, 2020, Plaintiffs Janette Beckman (“Beckman”) and Leeanne
  9   Hansen (“Hansen”) (collectively, “Plaintiffs”) filed a Complaint in the Superior
 10   Court of the State of California, County of Los Angeles, styled and captioned as set
 11   forth above. In their Complaint, Plaintiffs name as defendants American and AAG,
 12   and three current or former employees of American, Sigsbee “John” Nelson
 13   (“Nelson”), Cameron Binion (“Binion”), and Tim McMahan (“McMahan”).1 This
 14   action, which arises out of Plaintiffs’ employment relationship with American, was
 15   assigned case number 20STCV25029. A true and correct copy of Plaintiffs’
 16   Complaint (“Complaint” or “Compl.”) is attached as Exhibit A.
 17         2.     On July 28, 2020, Plaintiffs served American with the Complaint.
 18   (See Exhibit B.) On July 30, 2020, Plaintiffs filed a proof of service of the
 19   summons and Complaint on American. (Id.) On August 4, 2020, Plaintiff served
 20   AAG with the Complaint. (See Exhibit C.) On August 14, 2020, Plaintiffs filed a
 21   proof of service of the summons and Complaint on AAG. (Id.) It is American’s
 22   understanding that Nelson has been served with the Complaint. To date, Plaintiffs
 23   have not served Binion or McMahan with the Complaint.
 24         3.     No other process, pleadings, or orders have been served on American
 25   or AAG in conjunction with the state court proceeding.2 This Notice of Removal
 26
      1
 27     Plaintiffs misspell Defendant Tim McMahan’s name as “Tim McCann” in the
      case caption and throughout their Complaint.
 28   2
        American was, however, served with Plaintiffs’ first set of discovery requests on
                                                         DEF. AMERICAN AIRLINES GROUP INC.
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  1   has been filed within 30 days of service of the Complaint on American, and
  2   accordingly, the requirement of 28 U.S.C. § 1446(b) requiring removal within 30
  3   days of service of the first defendant has been satisfied.
  4          4.     As set forth below, pursuant to 28 U.S.C. § 1332(a), this Court has
  5   original jurisdiction over all claims alleged in this action because there is complete
  6   diversity of citizenship and the amount in controversy exceeds $75,000.
  7   I.     JURISDICTION AND BASIS FOR REMOVAL.
  8          5.     Pursuant to 28 U.S.C. § 1332(a), the United States District Courts shall
  9   have original jurisdiction of all civil actions where the matter in controversy
 10   exceeds the sum or value of $75,000, exclusive of interest and costs, and is between
 11   citizens of different states.
 12          A.     Diversity Jurisdiction.
 13                 a.   Plaintiffs Are Citizens Of California.

 14          6.     In their Complaint, Plaintiffs allege that they “are, and at all times …

 15   were, residents of California.” (Compl. at ¶ 8.) Plaintiffs are therefore citizens of

 16   California for diversity-of-citizenship purposes.

 17                 b.     American And AAG Are Not Citizens Of California.

 18          7.     Pursuant to 28 U.S.C. § 1332(c)(1), a corporate defendant “shall be

 19   deemed to be a citizen of any State . . . by which it has been incorporated and of the

 20   State . . . where it has its principal place of business.” When ascertaining a

 21   corporate defendant’s principal place of business for diversity purposes, the

 22   Supreme Court has adopted the “nerve center” approach. Hertz v. Friend, 559 U.S.

 23   77, 89-93 (2010). A corporation’s principal place of business or “nerve center” is

 24   “where the corporation maintains its headquarters—provided that the headquarters

 25   is the actual center of direction, control, and coordination.” Id. at 93.

 26          8.     At the time this action was filed and presently, AAG is incorporated in

 27
 28   August 10, 2020.
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  1   the State of Delaware.3 (Declaration of Marjorie Powell (“Powell Decl.”) ¶ 2.) At
  2   the time this action was filed and presently, American is also incorporated in the
  3   State of Delaware. (Id.) Additionally, and at all pertinent times, American and
  4   AAG’s principal place of business is in Texas. American maintains its corporate
  5   headquarters in Fort Worth, Texas, where its executive offices as well as its training
  6   department, flight department, flight service department, legal department, human
  7   resources department, and administrative offices are located. (Id.) Therefore, for
  8   the purposes of removal, and pursuant to 28 U.S.C. § 1332(c), American and AAG
  9   are citizens of the State of Delaware and the State of Texas. See Hertz, 559 U.S. at
 10   92-93.
 11                c.     Nelson And Binion Are Not Citizens Of California.
 12         9.     In their Complaint, Plaintiffs do not allege where Nelson and Binion
 13   are citizens for jurisdictional purposes, only that “at all times relevant,” they were
 14   based in and/or worked in Los Angeles, California. (Compl. ¶¶ 14-15.)
 15         10.    At the time this action was filed, and presently, however, neither
 16   Nelson nor Binion were or are citizens of California. Nelson is a citizen of Arizona
 17   and was at the time the Complaint was filed. (Declaration of Sigsbee Nelson
 18   (“Nelson Decl.”) ¶ 2.) Binion is a citizen of North Carolina and was at the time the
 19   Complaint was filed. (Declaration of Cameron Binion (“Binion Decl.”) ¶ 3.)
 20         11.    Therefore, Nelson and Binion are not citizens of California for
 21   diversity-of-citizenship purposes.
 22                d.     McMahan Was Fraudulently Joined, And Thus, His
                          Citizenship Must Be Disregarded.
 23
 24         12.    McMahan’s citizenship must be disregarded for diversity purposes
 25
 26   3
        AAG is the parent, holding company of American. AAG has no employees and
 27   thus had no (and could have no) involvement in the claims at issue in the
      Complaint. AAG intends to ask Plaintiffs to voluntarily dismiss it from this
 28   litigation, and if Plaintiffs refuse, AAG will file a Motion to Dismiss.
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  1   because he has been fraudulently joined as a defendant. “Joinder of a non-diverse
  2   defendant is deemed fraudulent, and the defendant’s presence in the lawsuit is
  3   ignored for purposes of determining diversity, ‘[i]f the plaintiff fails to state a cause
  4   of action against a resident defendant, and the failure is obvious according to the
  5   settled rules of the state.’” Morris v. Princess Cruises, Inc., 236 F.3d 1061, 1067
  6   (9th Cir. 2001). Such is the case here.
  7         13.    Of the 18 causes of action that Plaintiffs purport to assert, they bring
  8   four against McMahan: (1) harassment on the basis of sex/gender under the Fair
  9   Employment Housing Act (“FEHA”); (2) harassment on the basis of disability
 10   under the FEHA; (3) intentional infliction of emotional distress (“IIED”); and (4)
 11   negligent infliction of emotional distress (“NIED”). (See generally Compl.)
 12         14.    In support of those four claims against McMahan, Plaintiffs make only
 13   a single factual allegation regarding McMahan, which even if true, cannot support
 14   their claims against him as a matter of law. Specifically, Plaintiffs’ sole factual
 15   allegation as to McMahan is that he offered Plaintiffs “paid time off until the
 16   COMPANY completed its investigation,” and that subsequently, “[a]cting outside
 17   the usual bounds of the employment relationship, instead of following COMPANY
 18   policy, MCCANN [sic] contributed [sic] PLAINTIFFS’ harassment by retracting
 19   the guaranteed paid leave just days later, leaving PLAINTIFFS on indefinite unpaid
 20   leaves of absence pending the COMPANY’s investigation, which he knew would
 21   last several months.” (Id. ¶¶ 31-32.)
 22                       i.     McMahan’s Alleged Conduct Cannot Constitute
                                 Harassment As A Matter of Law.
 23
 24         15.    Because McMahan’s alleged conduct on its face constitutes a
 25   personnel decision, Plaintiffs’ allegations against him cannot constitute harassment
 26   on the basis of sex/gender or disability under the FEHA as a matter of law. See,
 27   e.g., Reno v. Baird, 18 Cal. 4th 640, 646 (1998) (“Making a personnel decision is
 28   conduct of a type fundamentally different from the type of conduct that constitutes
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  1   harassment.”); Sheppard v. Freeman, 67 Cal. App. 4th 339, 342 (1998)
  2   (“[E]mployees, regardless of their scope of employment or personal motives,
  3   cannot be individually liable for their acts or words relating to personnel actions . . .
  4   .”); Cofer v. Parker-Hannifin Corp., 194 F. Supp. 3d 1014, 1019 (C.D. Cal. 2016)
  5   (noting that personnel management actions, such as “project assignments,
  6   promotion or demotion, performance evaluations, or compensation decisions,” may
  7   be found discriminatory if they are based on improper motives, but such actions
  8   cannot constitute harassment as a matter of law) (emphasis added).
  9         16.    In Cofer, this Court granted an employer’s motion to dismiss its
 10   former employees’ claims for age and race-based harassment because the alleged
 11   harassment was “personnel-related conduct.” 194 F. Supp. 3d at 1019. The former
 12   employee alleged that his employer and several of his supervisors had refused to
 13   promote him, precluded him from participating in trainings, excluded him from
 14   meetings, and ultimately terminated him. Id. The court dismissed his harassment
 15   claim, holding that such conduct consisted of “official employment actions” and
 16   could not constitute harassment as a matter of law. Id. at 1020. The court noted
 17   that there were no allegations of offensive conduct unrelated to official employment
 18   actions that could potentially amount to harassment. Id.
 19         17.    Cofer is directly on point. Plaintiffs do not allege that McMahan
 20   engaged in any offensive conduct whatsoever, other than taking “official
 21   employment actions.” Such alleged conduct cannot constitute harassment on the
 22   basis of sex/gender or disability under the FEHA as a matter of law. Id.; Reno, 18
 23   Cal. 4th at 646; Sheppard, 67 Cal. App. 4th at 342.
 24         18.    Furthermore, Plaintiffs have not alleged sufficient facts to make out a
 25   prima facie case for either harassment on the basis of their sex or on the basis of
 26   their alleged disabilities, because they make no factual allegations that could link
 27   McMahan’s decision to initially place them on paid leaving during the investigation
 28   and then change it to unpaid leave to either their sex or their alleged disabilities. To
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   1   establish a prima facie case of harassment on the basis of sex under the FEHA, “a
   2   plaintiff must plead facts demonstrating . . . that she was subjected to verbal or
   3   physical conduct because of her sex.” (emphasis added). Deering v. Lassen Cmty.
   4   Coll. Dist., No. 2:07-CV-01521, 2008 WL 4570339, at *4 (E.D. Cal. Oct. 14,
   5   2008); see also Lelaind v. City & Cty. San Francisco, 576 F. Supp. 2d 1079, 1101
   6   (N.D. Cal. 2008) (noting that, to prevail on a claim for harassment, a plaintiff must
   7   show “that she was subjected to verbal or physical conduct because of a protected
   8   characteristic.”) The same standard applies to claims for harassment on the basis of
   9   disability. See Nielsen v. Trofholz Techs., Inc., 750 F. Supp. 2d 1157, 1168 (E.D.
  10   Cal. 2010), aff’d, 470 F. App’x 647 (9th Cir. 2012) (noting that “[h]arassment
  11   because of disability is subject to the same standard as sexual harassment”; that is,
  12   that an employee “must show that the harassing conduct was severe enough or
  13   sufficiently pervasive to alter the conditions of employment and create a work
  14   environment that qualifies as hostile or abusive to employees because of their []
  15   disability.”) Here, Plaintiffs do not make a single allegation in their Complaint that
  16   even attempts to link McMahan’s alleged conduct to either Plaintiffs’ gender or
  17   their alleged disabilities, and therefore they fail to state a claim for harassment
  18   against McMahan.
  19         19.    For these reasons, there is no possibility that Plaintiffs can prevail on
  20   either harassment claim asserted against McMahan.
  21                       ii.    Plaintiffs’ Claims For IIED and NIED Cannot Be
                                  Maintained Against McMahan.
  22
  23         20.    For similar reasons, “it is abundantly obvious that [Plaintiffs] could not
  24   possibly prevail on” their final two causes of action against McMahan for IIED and
  25   NIED. Morris, 236 F.3d at 1067. Under well-settled law, IIED and NIED claims
  26   cannot be maintained against employers or agents of those employers (such as
  27   supervisors and other employees) for taking personnel management-related actions
  28   or other actions “within the context of the employment relationship.” See Schaffer
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   1   v. GTE, Inc., 40 F. App’x 552, 557-58 (9th Cir. 2002); see also Cole v. Fair Oaks
   2   Fire Protection Dist., 43 Cal.3d 148, 160 (Cal. 1987); Haynal v. Target Stores, No.
   3   96–1599–K(RBB), 1996 WL 806706, at *6 (S.D. Cal. Dec. 9, 1996). Instead, such
   4   claims are “within the exclusive remedy provisions of the California Workers’
   5   Compensation Act.” Schaffer, 40 F. App’x at 557; see also Dubose v. Excelsion
   6   Educ. Ctr., 2010 WL 11556752, at *13 (C.D. Cal. Sept. 22, 2010) (“Here, Dubose’s
   7   negligent supervision, NIED, and IIED claims implicate Excelsior’s agents and
   8   ‘supervisors[’] . . . unlawful behavior,’ and their actions in ‘asserting their power
   9   over’ her . . . . [These] claims are barred by worker’s compensation exclusivity.”)
  10   (internal citations omitted). All that Plaintiffs have alleged is that McMahan
  11   offered them paid leave and then withdrew that offer. (Compl. ¶ 31.) Such conduct
  12   falls squarely within the realm of garden-variety personnel management activity.
  13         21.    Several California Central District Courts have found that individual
  14   supervisor defendants were fraudulently joined in nearly identical cases to this one
  15   (with the only difference being there were more allegations against the individual
  16   supervisor than Plaintiffs make here). Thus, the result should be the same here. In
  17   Ayala v. Cox, CV 16-06341-GHK (ASx), 2016 WL 6561284 (C.D. Cal. Nov. 4,
  18   2016), the plaintiff, similar to Plaintiffs here, sought to avoid removal by asserting
  19   an IIED claim against a supervisor, who was a resident of California. The plaintiff
  20   alleged that the individual supervisor he named as a defendant relocated him on
  21   short notice, gave him an office in poor condition, reprimanded him, put him on a
  22   performance improvement plan, gave him difficult assignments, and terminated his
  23   employment. Id. at *1, *3. The court held: “[s]ince all of this conduct ‘f[ell]’
  24   within the confines of [the supervisor’s] managerial role, it could not rise to an
  25   IIED claim.” Id. at *3 (brackets in original). And because the plaintiff could not
  26   recover from the individual defendant, the court concluded that he was fraudulently
  27   joined, and disregarded him for purposes of the jurisdictional analysis. Id. at *4;
  28   see also Gomez v. Mirada Hills Rehab., No. CV-15-08877-MWF-JEM, 2016 WL
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   1   370692, *5 (C.D. Cal. Jan. 29, 2016) (denying motion to remand on fraudulent
   2   joinder grounds and dismissing the individual defendants because the plaintiffs had
   3   failed to allege that they “acted outside [their] managerial role”).
   4         22.    Similarly, in Breyman v. Canon Solutions Am., No. CV 15-9975-
   5   MRW, 2016 WL 715723 (C.D. Cal. Feb. 18, 2016), the court found that the
   6   plaintiff had fraudulently joined an individual supervisor as a defendant to avoid
   7   diversity jurisdiction. The plaintiff brought an IIED claim against his individual
   8   supervisor for allegedly “retaliating against him for requesting reasonable
   9   accommodations,” making harassing comments about the plaintiff’s employment
  10   status, and “concealing the deadline for [the plaintiff] to return to work.” Id. at *3.
  11   The court found that the plaintiff’s IIED claim against that defendant “f[e]ll
  12   squarely within the sphere of personnel management acts” that were insufficient to
  13   constitute IIED. Id. at *3. The court further noted that the minimal allegations
  14   against the individual defendant, and the fact that the individual defendant was not
  15   served before removal, all pointed to fraudulent joinder. Id. Significantly, all of
  16   those circumstances are present here. Plaintiffs have not served McMahan, and
  17   their Complaint contains minimal, managerial related, allegations against him. (See
  18   generally Compl.; Declaration of Kelly Wood (“Wood Decl.”) ¶ 2.)
  19         23.    Because Plaintiffs have no possibility of prevailing on any one of their
  20   claims against McMahan, he should be disregarded for jurisdictional purposes.
  21                e.     The Doe Defendants Are Irrelevant.
  22         24.    The Complaint also names 50 “Does” as defendants. For purposes of
  23   removal, however, “the citizenship of defendants sued under fictitious names shall
  24   be disregarded.” 28 U.S.C. § 1441(b)(1).
  25         25.    Because American, AAG, Nelson and Binion are not citizens of
  26   California, Plaintiffs are citizens of California, and the domicile of no other
  27   defendant should be considered, the diversity requirement of 28 U.S.C.
  28   § 1332(a)(1) is satisfied.
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                                                  8             AND AMERICAN AIRLINES, INC.’S
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   1         B.     The Amount-In-Controversy Requirement Is Satisfied.
   2         26.    Without conceding that Plaintiffs are entitled to damages or can
   3   recover damages in any amount whatsoever, the amount in controversy in this case
   4   exceeds the sum or value of $75,000, as required by 28 U.S.C. § 1332(a). Where a
   5   plaintiff’s state court complaint is silent as to the amount of damages claimed, the
   6   removing defendant need only establish that it is more likely than not that the
   7   plaintiff’s claims, if found valid, exceed the jurisdictional minimum. Sanchez v.
   8   Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996). Here, Plaintiffs’
   9   Complaint states that it seeks compensatory damages “in an amount to be
  10   ascertained at trial,” as well as civil penalties in the amount of $25,000 per plaintiff,
  11   and unspecified amounts of punitive damages, reimbursement of “necessary
  12   business expenses,” interest, and attorneys’ fees and costs. (Compl. Prayer for
  13   Relief at 31:6-22.) Because the Complaint is silent as to whether the amount
  14   sought exceeds $75,000, the preponderance of the evidence standard applies to
  15   determine whether the amount of controversy exceeds the jurisdictional minimum.
  16   Sanchez, 102 F.3d at 404.
  17         27.    In determining whether the amount in controversy exceeds $75,000,
  18   the Court must presume that Plaintiffs will prevail on each and every one of their
  19   claims. Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d
  20   993, 1001 (C.D. Cal. 2002). The amount in controversy may include general and
  21   special compensatory damages, punitive damages, and attorneys’ fees which are
  22   recoverable by statute. Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th
  23   Cir. 1998); Simmons v. PCR Tech., 209 F. Supp. 2d 1029, 1031-35 (N.D. Cal.
  24   2002).
  25         28.    Plaintiffs seek compensatory damages, including lost past and future
  26   wages, emotional distress damages, and damages for injury and medical expenses,
  27   civil penalties, punitive damages, and attorneys’ fees and costs pursuant to eighteen
  28   causes of action. (Compl. Prayer for Relief at 31:6-22.) All of this requested relief
                                                            DEF. AMERICAN AIRLINES GROUP INC.
                                                  9              AND AMERICAN AIRLINES, INC.’S
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   1   must be considered in calculating the amount in controversy. Id.
   2                a.    Lost Earnings.
   3         29.    Plaintiffs allege that they are entitled to recover “compensatory
   4   damages, including but not limited to lost past and future wages.” Plaintiffs’
   5   claimed “lost past wages” would be the amount of money Plaintiffs would have
   6   earned from the date of the alleged adverse employment action to the date of trial.
   7   EEOC v. Hacienda Hotel, 881 F.2d 1504, 1518 (9th Cir. 1989). Plaintiffs’
   8   recovery could include not only lost wages or salary, but also any alleged loss of
   9   employment benefits. Id. Plaintiffs’ claim for future wages would equate to the
  10   wages and benefits Plaintiffs would have earned after the time of trial. Smith v.
  11   Brown-Forman Distillers Corp., 196 Cal. App. 3d 503, 518 (1987). Claims for
  12   future wages are generally measured by the employee’s projected earnings and
  13   benefits from trial until the time the employee is likely to become reemployed. See
  14   Toscano v. Greene Music, 124 Cal. App. 4th 685, 695-97 (2004).
  15         30.    Beckman is a flight attendant who is paid at a rate of $68.25 per hour.
  16   (Declaration of Mathew Diedrick ¶ 2.) While Beckman’s hours varied, in the six
  17   months prior to her taking a leave of absence, she generally worked between 30 and
  18   45 hours per week. (Id.) Hansen is also a flight attendant who is paid at a rate of
  19   $68.25 per hour. (Id.) In the six months prior to her taking a leave of absence, she
  20   generally worked between 25 and 50 hours per week. (Id.) In the event Plaintiffs’
  21   claims have merit (which they do not), they could recover at least $3,753.75 in
  22   alleged lost earnings per week since the time they took their leaves of absence.4
  23   Plaintiffs have both been on leaves of absence for over 15 months, since May of
  24
       4
  25    Using the lower estimate of 30 hours per week for Hansen, Hansen would have
       earned $2,047.50 per week that she has been out of work (30 x $68.25 =
  26   $2,047.50). Using the lower estimate of 25 hours per week for Beckman, Beckman
  27   would have earned $1,706.25 per week that she has been out of work (25 x $68.25
       = $1,706.25). Together, their claims for lost earnings could theoretically amount to
  28   $3,753.75 per week that they have been on leaves of absence.
                                                          DEF. AMERICAN AIRLINES GROUP INC.
                                                10             AND AMERICAN AIRLINES, INC.’S
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   1   2019. (Id.) Accordingly, if Plaintiffs’ claims are valid (which they are not), their
   2   damages for lost earnings alone could potentially be more than $259,008.75,
   3   exceeding the jurisdictional minimum.5
   4                b.     Civil Penalties.
   5         31.    Plaintiffs also assert a claim for civil penalties under California Civil
   6   Code § 52(b). In their prayer for relief, Plaintiffs allege they are entitled to “civil
   7   penalties in the amount of $25,000 for each PLAINTIFF.” As such, they are
   8   seeking a total of $50,000 in civil penalties. This amount, added to Plaintiffs’
   9   claimed lost earnings, far exceeds the jurisdictional minimum of $75,000.
  10                c.     Emotional Distress Damages and Damages For Injury And
                           Medical Expenses.
  11
  12         32.    If Plaintiffs prevail, they could also recover damages for alleged
  13   emotional distress, physical injuries, and medical expenses. Emotional distress
  14   damages awards in California employment cases often alone meet or exceed the
  15   jurisdictional threshold. See, e.g., Kuwahara v. Asahi Gakuen, BC454896, 2014
  16   Jury Verdicts LEXIS 4906 (February 2014 Los Angeles jury awarded $1,300,000
  17   in non-economic emotional distress damages where employee was discriminated,
  18   harassed, and retaliated against); Bergren v. Fu-Gen Inc., BC463918, 2014 Jury
  19   Verdicts LEXIS 7813 (July 2014 Los Angeles jury awarded $97,916 in non-
  20   economic emotional distress damages for employment discrimination and
  21   retaliation); Angel v. Sutter Health, 2009-00055279, 2013 Jury Verdicts LEXIS
  22   7773 (June 2013 California jury awarded $500,000 in non-economic emotional
  23   distress damages in employment discrimination case); Burton v. Pulmocare
  24   Respiratory Servs., CIVDS-15-09192, 2016 WL 6962191 (October 2016 San
  25   Bernardino jury awarded $175,000 for non-economic past emotional distress
  26   damages and $100,000 for future emotional distress in employment discrimination,
  27
       5
        $3,753.75 per week x 69 weeks between May 1, 2019 and the date of this Notice
  28   of Removal = $259,008.75.
                                                            DEF. AMERICAN AIRLINES GROUP INC.
                                                  11             AND AMERICAN AIRLINES, INC.’S
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   1   retaliation, and wrongful termination case); Hernandez v. Pac. Bell Tel. Co., 37-24-
   2   00014271-CU-WT-CTL, 2016 WL 2758062 (April 2016 San Diego jury awarded
   3   $500,000 for non-economic past and $1,000,000 for future loss of “enjoyment of
   4   life, mental suffering, anxiety, humiliation, grief, inconvenience, physical pain or
   5   impairment, and emotional distress” in employment discrimination and retaliation
   6   case); Mackey v. Helinet Aviation Servs. LLC, BC528671, 2016 WL 737961
   7   (January 2016 Los Angeles jury awarded $850,000 for non-economic past and
   8   $170,000 for future emotional distress, physical pain, loss of enjoyment of life,
   9   anxiety and humiliation in harassment and retaliation case). The above-described
  10   examples of California employment verdicts involving discrimination, harassment,
  11   and retaliation claims are attached to American’s Request for Judicial Notice,
  12   which has been filed concurrently with this notice of removal.6 If American’s
  13   conduct is found to be unlawful (which it was not) and is found to have caused the
  14   injuries described above (which it did not), then Plaintiffs could potentially recover
  15   a significant amount in damages for emotional distress.
  16         33.    Though Plaintiffs’ prayer for lost wages, civil penalties, and emotional
  17   distress damages, standing alone, more than satisfies the jurisdictional threshold,
  18   Plaintiffs also allege medical expenses due to American’s and other Defendants’
  19   alleged conduct. (Compl. Prayer for Relief at 31:6-8.) If Plaintiffs establish that
  20   American and/or other Defendants caused them physical and/or psychological
  21   injury, they could potentially recover money for medical expenses as well.
  22                d.    Punitive Damages.
  23         34.    Moreover, Plaintiffs additionally seek punitive damages “in an amount
  24   sufficient to punish or make an example of DEFENDANTS.” (Compl. Prayer for
  25
  26   6
        Courts routinely take judicial notice of jury verdicts in cases involving similar
  27   claims in determining whether the amount-in-controversy requirement has been
       satisfied. See Vasquez v. Arvato Digital Servs., LLC, No. CV 11-02836 RSWL
  28   (AJWx), 2011 WL 2560261, at *2 (C.D. Cal. June 27, 2011).
                                                           DEF. AMERICAN AIRLINES GROUP INC.
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   1   Relief at 31:11-13.) Punitive damages are also included in calculating the amount
   2   in controversy. Davenport v. Mutual Ben. Health & Acc. Ass’n, 325 F.2d 785, 787
   3   (9th Cir. 1963). Indeed, for large companies with substantial assets, a claim for
   4   punitive damages “might alone” exceed the jurisdictional prerequisite. Aucina v.
   5   Amoco Oil Co., 871 F. Supp. 332, 334 (S.D. Iowa 1994) (punitive damage claim
   6   against Fortune 500 Company satisfied amount-in-controversy requirement because
   7   more than $75,000 in punitive damages would be necessary to “capture the
   8   defendant’s attention” and deter future similar conduct). American is a large
   9   company with substantial assets. Thus, although American vigorously denies
  10   Plaintiffs’ allegations, if Plaintiffs established liability for punitive damages, the
  11   potential punitive damage award, alone, could exceed $75,000.
  12                e.     Attorneys’ Fees.
  13          35.   Plaintiffs seek an award of attorneys’ fees, which also must be taken
  14   into account in computing the amount in controversy. “Attorneys’ fees may be
  15   included in the amount in controversy if recoverable by statute or contract.”
  16   Simmons v. PCR Tech., 209 F. Supp. 2d 1029, 1035 (N.D. Cal. 2002). That is the
  17   case here, according to Plaintiffs’ Complaint. (Compl. ¶¶ 69, 76, 83, 91, 99, 109,
  18   116, 123, 167 & Prayer for Relief at 31:21.) Further, courts have noted in assessing
  19   whether the amount-in-controversy requirement has been met that attorneys’ fees in
  20   individual employment cases often exceed damages. Simmons, 209 F. Supp. 2d
  21   1029 at 1035. As such, the amount-in-controversy requirement would likely be met
  22   even without considering lost wages, emotional distress damages, medical
  23   expenses, civil penalties, punitive damages, or any of the other relief sought by
  24   Plaintiff.
  25          36.   Accordingly, the amount in controversy in this case exceeds $75,000.
  26   II.    PROCEDURAL REQUIREMENTS.
  27          37.   American satisfies the procedural requirements for removal.
  28          38.   Plaintiff's state court action was commenced in the Superior Court of
                                                             DEF. AMERICAN AIRLINES GROUP INC.
                                                  13              AND AMERICAN AIRLINES, INC.’S
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   1   the State of California for the County of Los Angeles and, pursuant to 28 U.S.C. §§
   2   84(c) and 1446(a), may be removed to this United States District Court for the
   3   Central District of California, Western Division, which embraces Los Angeles
   4   County within its jurisdiction.
   5          39.   Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings and
   6   orders served upon American and AAG in the state court action are attached as
   7   Exhibits A-B.
   8          40.   Pursuant to 28 U.S.C. § 1446(b)(1), this Notice of Removal is timely
   9   because it was filed within 30 days of American’s receipt of the Complaint through
  10   service.
  11          41.   Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal will
  12   be served upon Plaintiffs’ counsel and a copy filed with the Clerk of Court for
  13   Department 15 of the Superior Court of the State of California, County of Los
  14   Angeles.
  15   III.   CONCLUSION.
  16          42.   For the reasons detailed above, pursuant to 28 U.S.C. §§ 1332, and
  17   1441(a) and (b), this state court action may be removed to federal district court, and
  18   American respectfully requests that it be so removed.
  19          WHEREFORE, American respectfully gives notice of and removes this
  20   action to this Court.
  21
  22          Dated: August 27, 2020               MARK W. ROBERTSON
                                                   KELLY WOOD
  23                                               O’MELVENY & MYERS LLP
  24                                               By:        /s/ Kelly Wood
                                                                 Kelly Wood
  25                                               Attorneys for Defendants American
  26                                               Airlines Group Inc., American Airlines,
                                                   Inc., and Tim McMahan
  27
  28
                                                          DEF. AMERICAN AIRLINES GROUP INC.
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                    EXHIBIT A
Electronically FILED by Superior Court of California, County of Los Angeles on 07/02/2020 11:46 AM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Clifton,Deputy Clerk
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                                                 20STCV25029
                                         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Richard Fruin




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                        6     Attorneys for Plaintiffs
                              JANETTE BECKMAN and LEEANNE HANSEN
                        7

                        8
                                                           SUPERIOR COURT FOR OF STATE OF CALIFORNIA
                        9

                      10                                                 FOR THE COUNTY OF LOS ANGELES
                      11

                      12

                      13      JANETTE BECKMAN, an individual, and                                             Case No. _________________
                              LEEANNE HANSEN, an individual,
                      14                                                                                      COMPLAINT FOR DAMAGES
                                                     Plaintiffs,
                      15                                                                                       1.    SEXUAL BATTERY;
                      16                  vs.                                                                  2.    BATTERY;
                                                                                                               3.    ASSAULT;
                      17      AMERICAN AIRLINES GROUP INC., a
                              Delaware corporation, AMERICAN                                                   4.    HARASSMENT ON THE BASIS OF
                      18      AIRLINES, INC., a Delaware corporation,                                                SEX/GENDER IN VIOLATION OF
                              SIGSBEE “JOHN” NELSON, an individual,                                                  FEHA;
                      19      CAMERON BINION, an individual, TIM                                               5.    DISCRIMINATION ON THE BASIS
                              MCCANN, an individual and DOES 1 through                                               OF SEX/GENDER IN VIOLATION OF
                      20      50, inclusive,
                                                                                                                     FEHA;
                      21                             Defendants.                                               6.    DISCRIMINATION ON THE BASIS
                                                                                                                     OF DISABILITY AND/OR MEDICAL
                      22                                                                                             CONDITION IN VIOLATION OF
                                                                                                                     FEHA;
                      23                                                                                       7.    HARASSMENT ON THE BASIS OF
                      24                                                                                             DISABILITY AND/OR MEDICAL
                                                                                                                     CONDITION IN VIOLATION OF
                      25                                                                                             FEHA;
                                                                                                               8.    FAILURE TO ACCOMMODATE IN
                      26                                                                                             VIOLATION OF FEHA;
                      27                                                                                       9.    FAILURE TO ENGAGE IN THE
                                                                                                                     INTERACTIVE PROCESS IN
                      28                                                                                             VIOLATION OF FEHA;
                                                                                                1
                                                                                      COMPLAINT FOR DAMAGES
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   1                                          10. RETALIATION FOR OPPOSING
                                                  PRACTICES FORBIDDEN BY FEHA;
   2
                                              11. FAILURE TO PREVENT,
   3                                              INVESTIGATE, AND REMEDY
                                                  HARASSMENT, DISCRIMINATION,
   4                                              AND/OR RETALIATION IN
                                                  VIOLATION OF FEHA;
   5
                                              12. WHISTLEBLOWER RETALIATION
   6                                              IN VIOLATION OF LABOR CODE
                                                  SECTION 1102.5;
   7                                          13. WHISTLEBLOWER RETALIATION
                                                  IN VIOLATION OF LABOR CODE
   8
                                                  SECTION 6310;
   9                                          14. INTENTIONAL INFLICTION OF
                                                  EMOTIONAL DISTRESS;
  10                                          15. NEGLIGENT INFLICTION OF
                                                  EMOTIONAL DISTRESS;
  11
                                              16. NEGLIGENT
  12                                              RETENTION/SUPERVISION;
                                              17. FAILURE TO REIMBURSE
  13                                              BUSINESS EXPENSES IN
  14                                              VIOLATION OF LABOR CODE
                                                  SECTION 2802;
  15                                          18. VIOLATION OF CIVIL CODE
                                                  SECTION 51.7 (RALPH ACT).
  16
                                                 DEMAND FOR JURY TRIAL.
  17

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                                 COMPLAINT FOR DAMAGES
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   1          Plaintiffs JANETTE BECKMAN (“BECKMAN”) and LEEANNE HANSEN (“HANSEN”)
   2 (hereinafter collectively referred to as “PLAINTIFFS”) bring this action as individuals against

   3   AMERICAN AIRLINES GROUP INC. (“AAG”), a Delaware corporation, AMERICAN
   4   AIRLINES, INC. (“AA”), a Delaware corporation (AAG and AA are hereinafter referred to
   5   collectively as “AMERICAN” or “the COMPANY”), SIGSBEE “JOHN” NELSON (“NELSON”),
   6   an individual, CAMERON BINION (“BINION”), an individual, and TIM MCCANN
   7   (“MCCANN”), an individual. ] (the aforementioned defendants are referred to collectively as
   8   “DEFENDANTS”).         PLAINTIFFS complain and allege as follows on the basis of personal
   9   knowledge and/or information and belief:
  10                                          INTRODUCTION
  11          1.      This case is a shocking example of a patriarchal playground where almost exclusively
  12 male “assets” known as pilots are allowed to roam free to assault flight attendants as they please

  13 while AMERICAN sits idly by, failing to properly train its workforce or otherwise restrain abusive

  14   misconduct towards the employees or the customers it is obligated to protect.         In this case,
  15   AMERICAN allowed a known sexual predator to drunkenly harass and physically assault lifelong
  16 flight attendants who had devoted their entire professional lives to providing excellent service for

  17 AMERICAN’s customers.          Instead of protecting them or effectively addressing PLAINTIFFS’
  18 complaints about a compromised pilot who could be unknowingly risking AMERICAN’s customers’

  19 lives while aboard an aircraft with a drunken pilot, AMERICAN chose to protect its “asset,” and

  20 allow PLAINTIFFS to be retaliated against. This cavalier attitude toward blatant sexual assault in

  21   the #MeToo era can only be explained by the hubris of the dysfunctional workplace culture of the
  22   airline industry, and AMERICAN in particular, which has willfully ignored rampant sexual assault
  23   in its midst for decades.
  24          2.      Public awareness of these issues, through national news and magazine articles, has
  25   been prolific. According to one source, “[w]omen constitute nearly 80% of U.S. flight attendants,
  26   and more than two-thirds of them have been sexually harassed during their careers, according to a
  27

  28
                                                    3
                                          COMPLAINT FOR DAMAGES
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   1                                                              1
       recent survey by the Assn. of Flight Attendants-CWA”           At the same time, flight attendants are
   2 disincentivized from reporting such incidents, and “only 7% of flight attendances [sic] who have

   3 experienced abuse have reported it . . . .” 2 As part of this culture of silence and hierarchical

   4 oppression, AMERICAN did not act to protect its flight attendants or the flying public, and instead

   5 retaliated against PLAINTIFFS when they were forced to speak up for themselves and blow the

   6 whistle on DEFENDANTS’ illegal activities. Unfortunately, PLAINITFFS’ worst fears were

   7 realized when they suffered extensive retaliation for having the courage to report pilot sexual

   8   misconduct and demand that action be taken. This lawsuit seeks to hold all DEFENDANTS
   9   accountable for their roles in perpetrating, and enabling the harassment and intimidation of
  10   PLAINTIFFS.
  11                                     JURISDICTION AND VENUE
  12          3.      The Superior Court of the State of California has jurisdiction over this action pursuant
  13 to California Constitution Article VI, section 10, which grants the Superior Court “original

  14 jurisdiction in all cases except those given by statute to other trial courts.”

  15          4.      The Superior Court of the State of California has jurisdiction over this matter.
  16 PLAINTIFFS are residents and citizens of, and are domiciled in, the State of California.

  17 Moreover, upon information and belief, at least one Defendant is a citizen of California, the alleged

  18 harassing, discriminatory, and retaliatory acts occurred in California, significant relief is being

  19 sought against DEFENDANTS whose violations of California employment laws form a significant

  20 basis for PLAINTIFFS’ claims. Further, no federal question is at issue because the claims are

  21 based solely on California law and at least one Defendant is a resident of, and/or regularly conducts

  22 business in the State of California.

  23

  24

  25   1
       Elliot Hester, Passengers Aren’t the Only Ones who Suffer Sexual Abuse – So Do Flight
  26 Attendants, Los Angeles Times, May 13, 2019, available at: https://www.latimes.com/travel/la-tr-
     travel-fly-guy-sexual-harassment-flight-attendants-20190506-story.html.
  27 2 Hugo Martín, Flight Attendants Say Airlines Have Failed to Address Sexual Harassment in the
     Skies, Los Angeles Times, May 12, 2018, available at: https://www.latimes.com/business/la-fi-
  28 travel-briefcase1-flight-attendant-harassment-20180512-story.html.
                                                      4
                                            COMPLAINT FOR DAMAGES
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   1          5.      Venue is proper in this judicial district and the County of Los Angeles, California
   2 because PLAINTIFF performed work for DEFENDANTS in the County of Los Angeles, and many

   3 of DEFENDANTS’ illegal acts, which are the subject of this action, occurred in the County of Los

   4 Angeles. Thus, a substantial portion of the transactions and occurrences related to this action

   5 occurred in this county. Cal. Civ. Proc. Code § 395.

   6          6.      Prior to filing this action, PLAINTIFFS timely exhausted their administrative
   7 remedies, each by filing an administrative complaint with the Department of Fair Employment and

   8 Housing (“DFEH”) and receiving a DFEH right to sue letter on April 29, 2020.

   9          7.      The doctrines of equitable tolling and continuing violations apply to PLAINTIFFS’
  10 claims herein. See Richards v. CH2M Hill, Inc., 26 Cal.4th 798 (2001); McDonald v. Antelope Valley

  11   Community College Dist., 45 Cal.4th 88 (2008).
  12                                               PARTIES
  13          8.      PLAINTIFFS are individuals who are, and at all times herein mentioned were,
  14   residents of California.
  15          9.      AAG is, and at all times mentioned in this Complaint was, an entity incorporated in
  16   Delaware, headquartered in Texas, and conducting business in California. At all relevant times
  17   herein, AAG has employed PLAINTIFFS within the meaning of California Government Code
  18   section 12926(d) and the Labor Code.
  19          10.     AA is, and at all times mentioned in this Complaint was, an entity incorporated in
  20   Delaware, headquartered in Texas, and conducting business in California. At all relevant times
  21   herein, AA has employed PLAINTIFFS within the meaning of California Government Code section
  22   12926(d) and the Labor Code.
  23          11.     PLAINTIFFS are informed and believe, and based thereon allege, that each
  24   Defendant acted in all respects pertinent to this action as the agent of the other DEFENDANTS,
  25   carried out a joint scheme, business plan or policy in all respects pertinent hereto, and the acts of
  26   each Defendant are legally attributable to the other DEFENDANTS.
  27          12.     PLAINTIFFS are informed and believe, and thereon allege, that AAG and AA each
  28 has employed PLAINTIFF, in that they exercised control over PLAINTIFF’S wages, hours or
                                                     5
                                           COMPLAINT FOR DAMAGES
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   1   working conditions, suffered and permitted PLAINTIFF to work, and/or engaged PLAINTIFF to
   2   work. See Martinez v. Combs, 49 Cal.4th 35, 64 (2010). Any of the three is sufficient to create an
   3 employment relationship.

   4          13.    To the extent one or more of DEFENDANTS did not directly hire, fire, or supervise
   5 PLAINTIFFS, PLAINTIFFS further allege that, upon information and belief, one or more

   6 DEFENDANTS control the business enterprises of one or more of the other DEFENDANTS, thereby

   7 creating an employment relationship with PLAINTIFF. See Castaneda v. Ensign Group, Inc., 229

   8 Cal.App.4th 1015, 1017-1018 (2014); Guerrero v. Superior Court, 213 Cal.App.4th 912, 950 (2013).

   9          14.    PLAINTIFFS are informed and believe that at all times relevant herein, NELSON
  10 was employed by AMERICAN as a pilot, under the title of First Officer, whose home base was Los

  11 Angeles, California.

  12          15.    PLAINTIFFS are informed and believe that at all times relevant herein, BINION was
  13 employed by AMERICAN as a Flight Service Manager who worked in Los Angeles, California.

  14          16.    PLAINTIFFS are informed and believe that at all times relevant herein, MCCANN
  15 was employed by AMERICAN as a Flight Service Director who worked in Los Angeles, California.

  16          17.    The true names and capacities of DOES 1 through 50, inclusive (“DOES”), are
  17 unknown to PLAINTIFFS at this time, and PLAINTIFFS therefore sue such DOE Defendants under

  18 fictitious names. PLAINTIFFS are informed and believe, and thereon allege, that each Defendant

  19 designated as a DOE is in some manner highly responsible for the occurrences alleged herein, and

  20 that PLAINTIFFS’ injuries and damages, as alleged herein, were proximately caused by the conduct

  21 of such DOE Defendants. PLAINTIFFS will seek leave of the court to amend this complaint to

  22 allege the true names and capacities of such DOE Defendants when ascertained.

  23          18.    PLAINTIFFS are informed and believe, and thereon allege, that each and every one
  24 of the acts and omissions alleged herein were performed by, and/or attributable to, all

  25 DEFENDANTS, each acting as agents and/or employees, and/or under the direction and control of,

  26 each of the other DEFENDANTS, and that said acts and failures to act were within the course and

  27 scope of said agency, employment and/or direction and control.

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   1          19.     PLAINTIFFS are informed and believe, and based thereon allege, that each
   2 DEFENDANT acted in all respects pertinent to this action as the agent of the other DEFENDANTS,

   3 carried out a joint scheme, business plan or policy in all respects pertinent hereto, and the acts of

   4 each DEFENDANT are legally attributable to the other DEFENDANTS.

   5          20.     As a direct and proximate result of the unlawful actions of DEFENDANTS,
   6 PLAINTIFFS have suffered, and continue to suffer, from loss of earnings in amounts as yet

   7 unascertained, but subject to proof at trial, and within the jurisdiction of this Court.

   8                         FACTS COMMON TO ALL CAUSES OF ACTION
   9                                Overview of PLAINTIFFS’ Employment
  10          21.     PLAINTIFFS have been employed by AMERICAN as flight attendants for over 40
  11   years, each. Both over the age of 60, PLAINTIFFS should be continuing to perform excellently in
  12   jobs to which they have dedicated their lives. Instead, they find themselves disgraced among their
  13   peers and isolated from the company to which they have devoted the past four-plus decades, just
  14   because they had the courage to stand up to a pilot who sexually assaulted and harassed them in the
  15   workplace—joining an exceptionally small group of flight attendants who have done so.
  16                                     PLAINTIFFS’ Protected Status
  17          22.     PLAINTIFFS, females, were sexually harassed during their employment with the
  18   COMPANY. Consequently, PLAINTIFFS are protected employees, as defined under the California
  19   Fair Employment and Housing Act (“FEHA”). See Cal. Gov’t Code § 12940, et seq. Additionally,
  20   PLAINTIFFS engaged in protected activity when they opposed harassment and other unlawful
  21   activity at the COMPANY. Thus, PLAINTIFFS are also protected employees under the California
  22   Labor Code (“Labor Code”). See Cal. Lab. Code §§ 1102.5, 6310. Following their illegal treatment
  23   by DEFENDANTS, PLAINTIFFS each took a medical leave of absence to address their
  24   psychological and physical injuries arising from their mistreatment, and as such a protected
  25   employees with a disability pursuant to the FEHA.
  26            PLAINTIFFS Were Sexually Assaulted, Battered, and Harassed by NELSON.
  27          23.     PLAINTIFFS were working as flight attendants on a flight leaving from their home
  28   base of Los Angeles, California When NELSON, in search of alcohol, walked to the aft galley of the
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   1   plane, knowing there was a supply. NELSON asked for alcohol from BECKMAN, who, concerned
   2   about the safety of hundreds of passengers and her fellow crew members, denied NELSON’s request.
   3          24.    Dissatisfied with BECKMAN’s refusal to enable his on-duty drinking and flying,
   4 NELSON began sexually harassing her.            He stated, unprovoked, “I know you like S&M
   5 (sadomasochism) and I know you like to be tied up.” BECKMAN made it clear NELSON’s conduct

   6 was unwelcome.

   7          25.    HANSEN, who had overheard the exchange, sat next to BECKMAN. NELSON then
   8 turned his unwelcome advances toward HANSEN and, seeing lanyards in HANSEN’s bag, stated,

   9 “Oh, you’re into ropes? Do you wanna come to my room and tie me up?” HANSEN immediately

  10 objected to NELSON’s comment. Unrelenting, NELSON then said, “Oh, you’re one of those. You

  11 want me to tie you up?”

  12          26.    Later, apparently dissatisfied with the cold response he had received from
  13 PLAINTIFFS, NELSON, startling HANSEN from behind, grabbed HANSEN by her hips, dug his

  14 nails into her hip bones, and repeatedly and violently thrust his penis into HANSEN’s buttocks.

  15 NELSON’s actions, which BECKMAN and other personnel witnessed, were completely unwelcome.

  16 These acts occurred while PLAINTIFFS and NELSON were in uniform and on duty.

  17          27.    PLAINTIFFS promptly reported the harassment, assault, and battery NELSON
  18 inflicted upon them to Captain Sipovac, the pilot in charge of the flight. PLAINTIFFS also expressed

  19 concern over NELSON’s potential drinking of alcohol during the flight, jeopardizing the safety of

  20 passengers and the flight crew. Far from surprised, Captain Sipovac shared that, in the cockpit,

  21 NELSON boasted of his sexual conquests with underage prostitutes—in reality, child sex slaves—

  22 and visits to strip clubs during layovers, even showing pictures he kept as mementos. In addition, it

  23 was common knowledge to those who had flown with NELSON that he drank alcohol to excess on

  24 the job. On one trip, he imbibed so much while in uniform on the flight crew’s shuttle that he

  25 drunkenly fell down and split his pants open.

  26          28.    Instead of taking prompt remedial action in response to the reported harassment,
  27 assault, and battery, as required by law, Captain Sipovac deferred to PLAINTIFFS, asking them what

  28 they wanted him to do. It was apparent the COMPANY failed its employees by not equipping them
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   1   with proper training on how to address reported harassment, assault, and battery that occurred in the
   2 workplace. In fact, horrifyingly, NELSON was allowed to work the return leg on the same flight as

   3   PLAINTIFFS. After the flight landed, NELSON referred unapologetically to his harassment,
   4   making it clear that he intended to continue his harassing behavior.
   5          29.     As a result of NELSON’s harassment, assault, and battery, HANSEN was forced to
   6   take stress leave. BECKMAN attempted to continue working until she was forced to fly with
   7   NELSON just a week later, which she only did because Captain Sipovac said he would look out for
   8   her. Despite Sipovac’s presence, NELSON seized another opportunity to harass BECKMAN, by
   9   approaching her from behind, getting too close to her, and whispering in her ear. NELSON also
  10   again entered the galley after the passengers had deplaned, when he should not have been there,
  11   apparently rummaging in the bar cart for alcohol. Feeling like the COMPANY would not protect
  12   her, BECKMAN also went on stress leave.
  13       PLAINTIFFS Reported NELSON’s Sexual Assault, Battery, and Harassment, and Were
  14                                    Retaliated Against for Doing So.
  15          30.     After the return leg of PLAINTIFFS’ joint flight with NELSON, Sipovac
  16   recommended that PLAINTIFFS contact the Allied Pilots Association’s Professional Standards for
  17   Pilots (“PSP”) to report NELSON’s misconduct, when he should have immediately contacted the
  18   COMPANY’s Human Resources department—another indication of the COMPANY’s failure to
  19   train properly on handling reported harassment, assault, and battery.         Unsurprisingly, when
  20   PLAINTIFFS lodged a complaint with PSP, PSP excused NELSON’s misconduct—including
  21   jeopardizing the safety of hundreds of passengers while potentially flying inebriated—because
  22   NELSON was a mere two years away from retirement.
  23          31.     PLAINTIFFS then each filed a formal complaint with the COMPANY’s Human
  24   Resources department, detailing NELSON’s gross sexual harassment, assault, and battery, suspected
  25   drinking of alcohol on-the-job, and the events that followed. Shortly thereafter, the COMPANY and
  26   MCCANN offered PLAINTIFFS a “PW, Withheld from Service, Paid,” meaning paid time off until
  27   the COMPANY completed its investigation. Acting outside the usual bounds of the employment
  28   relationship, instead of following COMPANY policy, MCCANN contributed PLAINTIFFS’
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   1   harassment by retracting the guaranteed paid leave just days later, leaving PLAINTIFFS on indefinite
   2   unpaid leaves of absence pending the COMPANY’s investigation, which he knew would last several
   3   months.
   4          32.     As further evidence of the COMPANY’s harassing and retaliatory intent, the
   5   COMPANY granted NELSON, who had been placed on leave pending investigation, the same “PW,
   6   Withheld from Service, Paid” status that MCCANN had denied PLAINTIFFS. Thus, NELSON was
   7   rewarded, while his victims, PLAINTIFFS, were harassed and punished for speaking out against
   8   NELSON’s harassment, assault, battery, and potential endangerment of passengers and flight crew
   9 members.

  10      PLAINTIFFS Remained On Unpaid Leave for Months During its Purported Investigation,
  11      Permitting Rumors to Spread and Causing Them Significant Distress and Economic Loss
  12          33.     The COMPANY purported to investigate NELSON’s conduct. During the course of
  13 that alleged investigation, the COMPANY’s Human Resources representative met in person with

  14 PLAINTIFFS. During PLAINTIFFS’ respective meetings, the representative required PLAINTIFFS

  15 to reenact NELSON’s sexual battery, even though it was obviously emotionally traumatizing to

  16 PLAINTIFFS for them to do so. Due to the Human Resources representative’s desire to catch a

  17 flight, she cut short BECKMAN’s interview without obtaining all of the pertinent facts surrounding

  18 her experience.

  19          34.     In violation of California law and public policy, the COMPANY’s Human Resources
  20 representative told PLAINTIFFS that they could not discuss their complaints, or any details

  21 associated with it, with anyone else while the investigation was pending.

  22          35.     The COMPANY did not pay PLAINTIFFS for their time meeting (or waiting to meet)
  23 with the Human Resources representative. Nor did the COMPANY reimburse PLAINTIFFS for the

  24 costs to park for hours, to meet at the COMPANY’s offices at Los Angeles International Airport, at

  25 the COMPANY’s request.

  26          36.     For almost half a year, the COMPANY did not apprise PLAINTIFFS of any
  27 additional steps taken to investigate their complaints, or any corrective action taken. This prolonged

  28 silence, combined with the COMPANY’s illegal mandate of silence from PLAINTIFFS, knowingly
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   1   allowed rumors to fester regarding PLAINTIFFS, including allegations that they had wrongfully
   2 caused NELSON’s termination from the COMPANY, and that they not victims but were

   3 opportunists pursuing the matter just to game the system. The COMPANY took no steps to quash

   4 those harassing rumors, intended to make it impossible for PLAINTIFFS to return to work.

   5          37.     During this time frame, PLAINTIFFS became aware that at least one pilot, who was
   6 known for carrying a gun in the cockpit while on duty, was seeking revenge on behalf of NELSON.

   7 The pilot approached PLAINTIFFS’ fellow flight attendants, with PLAINTIFFS’ name and

   8 employee identification number written on a piece of paper he kept in his pocket, and asked if the

   9 flight attendants knew PLAINTIFFS. His manner was menacing, and caused PLAINTIFFS to fear

  10 for their safety if they were to return to work.

  11          38.     Approximately six months after PLAINTIFFS initiated their formal complaint, the
  12 COMPANY mailed PLAINTIFFS a letter that stated simply that “the matter ha[d] been closed; and

  13 appropriate action ha[d] been taken.”        At no point did (or has) the COMPANY contacted
  14 PLAINTIFFS to determine how the COMPANY could accommodate them, including how the

  15 COMPANY could return them to work without further retaliation.

  16          39.     In fact, instead of accommodating PLAINTIFFS’ disabilities or engaging in an
  17 interactive process to return them to work, the COMPANY has harassed, discriminated against, and

  18 retaliated against PLAINTIFFS. Among other things, the COMPANY schedules PLAINTIFFS for

  19 work trainings and trips, and then, when they do not show up because they are on known doctor-

  20 prescribed medical leave, the COMPANY angrily calls and messages PLAINTIFFS, exacerbating

  21 their symptoms.      Even after PLAINTIFFS complained of such conduct, the COMPANY has
  22 responded by issuing write-ups for failing to report for work, issuing disciplinary points that, if

  23 accrued to a certain level, will result in termination of employment.

  24          40.     The COMPANY and BINION also interfered with PLAINTIFFS’ medical benefits,
  25 arranging them to be cut off as a means of further harassing PLAINTIFFS, even though they knew

  26 PLAINTIFFS desperately needed their health benefits. This additional harassment resulted in

  27 exacerbated medical conditions for both PLAINTIFFS, including medical problems that were life-

  28 threatening.
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   1          41.     The foregoing has caused PLAINTIFFS additional emotional distress during a period
   2 when they are still trying to recover from the harassment, assault, battery, and other retaliation they

   3 already experienced.

   4          42.     Meanwhile, the COMPANY gave NELSON, the harasser, assaulter, and batterer,
   5 vastly superior treatment. Not only did he receive paid leave pending the COMPANY’s purported

   6 investigation, but it is likely that the COMPANY also gave him substantial economic benefit when

   7 he ultimately departed the COMPANY.

   8          43.     In acts of further harassment and retaliation, BINION and the COMPANY sent
   9   BECKMAN a disciplinary letter for failing to appear at work when she was on a known medical
  10   leave of absence. The letter threatened to terminate her if she missed more work. The COMPANY
  11 followed up with harassing voice mail messages. Even after BECKMAN provided proof of her

  12 doctor-approved leave, the COMPANY and BINION refused to remove the false records from her

  13   personnel file and continued to threaten her to come to work.
  14          44.     As a consequence of DEFENDANTS’ conduct, PLAINTIFFS have had to employ
  15 attorneys to prosecute this action, and have therefore incurred costs and attorneys’ fees necessary to

  16 pursue this action.

  17                                       FIRST CAUSE OF ACTION
  18                                             Sexual Battery
  19                       (By HANSEN Against NELSON, AMERICAN, and DOES)
  20          45.     PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  21   every allegation set forth above.
  22          46.     California Civil Code section 1708.5 states that a person commits a sexual battery if
  23   he “[a]cts with the intent to cause a harmful or offensive contact with an intimate part of another,
  24   and a sexually offensive contact with that person directly or indirectly results,” or if he “[a]cts to
  25   cause an imminent apprehension of” such conduct, “and a sexually offensive contact with that person
  26   directly or indirectly results.” See Cal. Civ. Code § 1708.5.
  27          47.     As alleged above, NELSON acted with substantial certainty that he would touch an
  28 intimate part of HANSEN, by grabbing HANSEN’s hips and violently thrusting his penis into her
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   1   buttocks multiple times. NELSON’s actions directly caused harmful and sexually offensive contact
   2 with an intimate part of HANSEN, and/or an imminent apprehension of harmful and sexually

   3 offensive contact with an intimate part of HANSEN.

   4          48.    HANSEN did not consent to the touching.
   5          49.    HANSEN was harmed and/or offended by NELSON’s conduct.
   6          50.    As a proximate result of NELSON’s intentional sexually offensive touching of
   7 HANSEN, and HANSEN’s apprehension of such touching, HANSEN has sustained and continues

   8 to sustain substantial losses of earnings and other employment benefits, and physical and mental pain

   9 and anguish, all to her damage in a sum according to proof.

  10          51.    As alleged herein, NELSON’s conduct occurred during the course and scope of
  11 HANSEN’s employment with the COMPANY, and/or, on information and belief, was later ratified

  12 by the COMPANY and DOES. The COMPANY and DOES therefore are liable for NELSON’s

  13 conduct, directly and/or under the doctrine of respondeat superior.

  14          52.    NELSON, and by extension, the COMPANY and DOES, committed the acts herein
  15 despicably, maliciously, fraudulently, and oppressively, with the wrongful intention of injuring

  16 HANSEN, from an improper motive amounting to malice, and in conscious disregard of the rights

  17 of HANSEN. HANSEN is thus entitled to punitive damages from NELSON, the COMPANY and

  18 DOES in an amount according to proof.

  19                                     SECOND CAUSE OF ACTION
  20                                                Battery
  21                    (By HANSEN Against NELSON, AMERICAN, and DOES)
  22          53.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  23 every allegation set forth above.

  24          54.    As alleged above, NELSON touched HANSEN without her consent with the intent to
  25 harm and/or offend her. Such touching occurred during the course and scope of HANSEN’s

  26 employment with the COMPANY, and/or, on information and belief, was later ratified by the

  27 COMPANY and DOES. The COMPANY and DOES therefore are liable for HANSEN’s conduct,

  28 directly and/or under the doctrine of respondeat superior.
                                                     13
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   1          55.     HANSEN, as any reasonable person in her situation would have been, was harmed
   2 and/or offended by NELSON’s touching.

   3          56.     As a proximate result of NELSON’s intentional touching of HANSEN, HANSEN has
   4 sustained and continues to sustain substantial losses of earnings and other employment benefits, and

   5 physical and mental pain and anguish, all to her damage in a sum according to proof.

   6          57.     NELSON, and by extension, the COMPANY and DOES, committed the acts herein
   7 despicably, maliciously, fraudulently, and oppressively, with the wrongful intention of injuring

   8 HANSEN, from an improper motive amounting to malice, and in conscious disregard of the rights

   9 of HANSEN. HANSEN is thus entitled to punitive damages from NELSON, the COMPANY and

  10 DOES in an amount according to proof.

  11                                       THIRD CAUSE OF ACTION
  12                                                Assault
  13                     (By HANSEN Against NELSON, AMERICAN, and DOES)
  14          58.     PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  15   every allegation set forth above.
  16          59.     As alleged above, NELSON attempted to touch HANSEN without her consent with
  17   the intent to cause harmful and/or offensive contact, and HANSEN reasonably believed that she was
  18   about to be touched in a harmful and/or offensive manner. Such conduct occurred within the course
  19   and scope of HANSEN’s employment with the COMPANY, and/or, on information and belief, was
  20   later ratified by the COMPANY and DOES. Accordingly, the COMPANY and DOES are liable for
  21   HANSEN’s conduct, directly and/or under the doctrine of respondeat superior.
  22          60.     NELSON’s conduct was a substantial factor in causing HANSEN harm and/or
  23   offense.
  24          61.     As a proximate result of NELSON’s assault of HANSEN, HANSEN has sustained
  25   and continues to sustain substantial losses of earnings and other employment benefits, and has
  26   suffered and continues to suffer humiliation, emotional distress, and physical and mental pain and
  27   anguish, all to her damage in a sum according to proof.
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   1          62.     NELSON, and by extension, the COMPANY and DOES, committed the acts herein
   2 despicably, maliciously, fraudulently, and oppressively, with the wrongful intention of injuring

   3 HANSEN, from an improper motive amounting to malice, and in conscious disregard of the rights

   4 of HANSEN. HANSEN is thus entitled to punitive damages from NELSON, the COMPANY and

   5 DOES in an amount according to proof.

   6                                       FOURTH CAUSE OF ACTION
   7                                Harassment on the Basis of Sex/Gender
   8                         Violation of FEHA, Cal. Gov’t Code Section 12940(j)
   9             (By PLAINTIFFS Against NELSON, MCCANN, AMERICAN and DOES)
  10          63.     PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  11   every allegation set forth above.
  12          64.     The FEHA provides that it shall be unlawful for an employer or for any person to
  13   harass an employee because of a person’s sex and/or gender. See Cal. Gov’t Code § 12940(j).
  14          65.     At all times herein mentioned, the FEHA was in full force and effect and was binding
  15   on NELSON and the COMPANY. This statute requires NELSON, MCCANN, AMERICAN and
  16   DOES to refrain from harassing any employee on the basis of sex and/or gender, among other things.
  17          66.     As alleged above, during PLAINTIFFS’ employment with the COMPANY,
  18   NELSON and MCCANN intentionally engaged in harassment, including creating a hostile work
  19   environment, on the basis of PLAINTIFFS’ sex and/or gender, in violation of California law. The
  20   COMPANY and DOES knew and/or should have known about the harassment in violation of the
  21 FEHA that was directed toward PLAINTIFF.

  22          67.     A reasonable person subjected to NELSON’s and MCCANN’s harassing conduct
  23 would find, as PLAINTIFFS did, that the unwanted harassment so altered PLAINTIFFS’ working

  24 conditions as to make it more difficult to do her job. See Cal. Gov’t Code § 12923(a).

  25          68.     As a proximate result of NELSON, MCCANN, AMERICAN and DOES’ harassment
  26   of PLAINTIFFS, PLAINTIFFS have sustained and continue to sustain substantial losses of earnings
  27   and other employment benefits, and have suffered and continue to suffer humiliation, emotional
  28   distress, and physical and mental pain and anguish, all to their damage in a sum according to proof.
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   1          69.    PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
   2 Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover

   3 reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof.

   4          70.    NELSON, MCCANN, AMERICAN and DOES committed the acts herein
   5   despicably, maliciously, fraudulently, and oppressively, with the wrongful intention of injuring
   6   PLAINTIFFS, from an improper motive amounting to malice, and in conscious disregard of the
   7   rights of PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from NELSON,
   8   MCCANN, AMERICAN and DOES in an amount according to proof.
   9                                     FIFTH CAUSE OF ACTION
  10                              Discrimination on the Basis of Sex/Gender
  11                           Violation of FEHA, Cal. Gov’t Code § 12940(a)
  12                       (By PLAINTIFFS Against the COMPANY and DOES)
  13          71.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  14 every allegation set forth above.

  15          72.    California’s Fair Employment and Housing Act (the “FEHA”) provides that “the
  16   opportunity to seek, obtain, and hold employment without discrimination because of … race,
  17   religious creed, color, national origin, ancestry, physical disability, mental disability, medical
  18   condition, … marital status, sex, gender, gender identity… age, … is hereby recognized as and
  19   declared to be a civil right.” Cal. Gov’t Code §§ 12921(a), 12940(a).
  20          73.    The purpose of the FEHA is to protect and safeguard the right and opportunity of all
  21 persons to seek, obtain, and hold employment without discrimination or abridgment on the account

  22 of, inter alia, a person’s sex or gender. The FEHA recognizes that the practice of denying

  23 employment opportunities and discriminating in terms of employment substantially and adversely

  24 affects the interest of employees, employers, and the public in general. See Cal. Gov’t Code § 12920.

  25          74.    The FEHA makes it an unlawful employment practice for an employer to discriminate
  26 against an employee “in terms, conditions, or privileges of employment” on the basis of the

  27 employee’s sex or gender. Cal. Gov’t Code § 12940(a).

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   1          75.     As alleged above, PLAINTIFFS’ sex and/or gender were motivating factors in THE
   2   unlawful treatment described herein. As a proximate result of the COMPANY’s willful, knowing,
   3   and intentional discrimination against PLAINTIFFS, PLAINTIFFS have sustained and continue to
   4   sustain substantial losses of earnings and other employment benefits, and have suffered and continue
   5   to suffer humiliation, emotional distress, and physical and mental pain and anguish, all to their
   6   damage in a sum according to proof.
   7          76.     PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
   8   Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover
   9   reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof.
  10          77.     The COMPANY and DOES committed the acts herein despicably, maliciously,
  11   fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an
  12   improper and evil motive amounting to malice, and in conscious disregard of PLAINTIFFS’ rights.
  13   PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES in an amount
  14   according to proof.
  15                                       SIXTH CAUSE OF ACTION
  16                 Discrimination on the Basis of Disability and/or Medical Condition
  17                            Violation of FEHA, Cal. Gov’t Code § 12940(a)
  18                         (By PLAINTIFFS Against AMERICAN and DOES)
  19          78.     PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  20   every allegation set forth above.
  21          79.     The FEHA provides that “the opportunity to seek, obtain, and hold employment
  22   without discrimination because of … disabilities . . . is hereby recognized as and declared to be a
  23   civil right.” Cal. Gov’t Code § 12921(a).
  24          80.     The FEHA makes it an unlawful employment practice for an employer to discriminate
  25   against an employee “in terms, conditions, or privileges of employment” on the basis of the
  26   employee’s disability and/or medical condition. Cal. Gov’t Code § 12940(a). Under California law,
  27   disability includes not only a current disability, but also being perceived or regarded by the employer
  28   as having or having had a condition that currently has no disabling effect but may become an
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   1   impairment limiting the individual’s ability to participate in major life activities in the future
   2   (including working). See Cal. Gov’t Code § 12926(j); 2 Cal. Code. Regs. § 11065(d).
   3          81.     As alleged above, PLAINTIFFS’ disability and/or medical condition were motivating
   4   factors in the COMPANY and DOES’ actions taken against PLAINTIFFS.
   5          82.     As a proximate result of the COMPANY and DOES’ willful, knowing, and
   6   intentional discrimination against PLAINTIFFS, PLAINTIFFS have sustained and continue to
   7   sustain substantial losses of earnings and other employment benefits, and have suffered and continue
   8   to suffer humiliation, emotional distress, and physical and mental pain and anguish, all to their
   9   damage in a sum according to proof.
  10          83.     PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
  11 Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover

  12   reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof.
  13          84.     The COMPANY and DOES committed the acts herein despicably, maliciously,
  14   fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an
  15   improper and evil motive amounting to malice, and in conscious disregard of the rights of
  16   PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES
  17   in an amount according to proof.
  18                                   SEVENTH CAUSE OF ACTION
  19                  Harassment on the Basis of Disability and/or Medical Condition
  20                        Violation of FEHA, Cal. Gov’t Code Section 12940(j)
  21             (By PLAINTIFFS Against BINION, MCCANN, AMERICAN and DOES)
  22          85.     PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  23 every allegation set forth above.

  24          86.     The FEHA provides that it shall be unlawful for an employer or for any person to
  25 harass an employee because of a person’s disability and/or medical condition. See Cal. Gov’t Code

  26 § 12940(j).

  27          87.     As alleged above, BINION, and MCCANN, AMERICAN and DOES have harassed
  28 PLAINTIFFS because of their disability and/or medical condition.
                                                     18
                                           COMPLAINT FOR DAMAGES
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   1          88.     Such harassing conduct has been carried out by PLAINTIFFS’ supervisors, and/or by
   2 employees whom the COMPANY and DOES know and/or should know are engaging in such

   3   conduct in violation of the FEHA.
   4          89.     A reasonable person subjected to the harassing conduct would find, as PLAINTIFFS
   5 have, that the unwanted harassment so alters PLAINTIFFS’ working conditions as to make it more

   6   difficult to do their jobs. See Cal. Gov’t Code § 12923(a).
   7          90.     As a proximate result of the BINION, and MCCANN, AMERICAN and DOES’
   8 harassment of PLAINTIFFS, PLAINTIFFS have sustained and continue to sustain substantial losses

   9 of earnings and other employment benefits, and have suffered and continue to suffer humiliation,

  10 emotional distress, and physical and mental pain and anguish, all to their damage in a sum according

  11 to proof.

  12          91.     PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
  13 Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover

  14 reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof.

  15          92.     BINION, and MCCANN, AMERICAN and DOES have committed the acts herein
  16 despicably, maliciously, fraudulently, and oppressively, with the wrongful intention of injuring

  17 PLAINTIFFS, from an improper motive amounting to malice, and in conscious disregard of the

  18 rights of PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from t BINION, and

  19 MCCANN, AMERICAN and DOES in an amount according to proof.

  20                                       EIGHTH CAUSE OF ACTION
  21                    Failure to Accommodate Disability and/or Medical Condition
  22                           Violation of FEHA, Cal. Gov’t Code § 12940(m)
  23                         (By PLAINTIFFS Against AMERICAN and DOES)
  24          93.     PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  25   every allegation set forth above.
  26          94.     It is unlawful under the FEHA for an employer to fail to make reasonable
  27   accommodation for the known physical disability and/or medical condition of an employee.
  28          95.     Under the FEHA, employers who are aware that their employee has a disability and/or
                                                       19
                                             COMPLAINT FOR DAMAGES
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   1   medical condition have an affirmative duty to make reasonable accommodations for such disability
   2   and/or medical condition. The duty arises even if the employee has not requested reasonable
   3   accommodation. See Cal. Gov’t Code § 12940(m).
   4          96.     PLAINTIFFS are able to perform the essential job duties of their positions with
   5 reasonable accommodation for their disability and/or medical condition.          At all times during
   6 PLAINTIFFS’ employment with the COMPANY, PLAINTIFFS have been qualified to do their jobs.

   7          97.     As alleged above, DEFENDANTS did not reasonably accommodate PLAINTIFFS.
   8          98.     As a proximate result of the COMPANY and DOES’ willful, knowing, and
   9   intentional conduct, as alleged above, PLAINTIFFS have sustained and continue to sustain
  10   substantial losses of earnings and employment benefits, and have suffered and continue to suffer
  11   humiliation, emotional distress, and physical and mental pain and anguish, all to their damage in a
  12   sum according to proof.
  13          99.     PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
  14   Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover
  15   reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof).
  16          100.    The COMPANY and DOES committed the acts herein despicably, maliciously,
  17   fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an
  18   improper and evil motive amounting to malice, and in conscious disregard of the rights of
  19   PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES
  20   in an amount according to proof.
  21                                       NINTH CAUSE OF ACTION
  22                               Failure to Engage in the Interactive Process
  23                          to Accommodate Disability and/or Medical Condition
  24                             Violation of FEHA, Cal. Gov’t Code § 12940(n)
  25                        (By PLAINTIFFS Against the COMPANY and DOES)
  26          101.    PLAINTIFF incorporates by reference and realleges as if fully stated herein each and
  27   every allegation set forth above.
  28
                                                      20
                                            COMPLAINT FOR DAMAGES
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   1          102.      It is unlawful under the FEHA for an employer to fail to engage in a timely, good
   2 faith, interactive process with the employee to determine effective reasonable accommodations for

   3 an employee with a known physical or mental disability or known medical condition. See Cal. Gov’t

   4 Code § 12940(n).

   5          103.      Under the FEHA, employers who are aware that an employee has a disability and/or
   6 medical condition have an affirmative duty to engage in the interactive process to identify and

   7 provide reasonable accommodations for such disability and/or medical condition. The duty arises

   8   even if the employee has not requested reasonable accommodation.
   9          104.      The FEHA requires a timely, good faith, interactive process between an employer and
  10   an employee with a known physical or mental disability and/or medical condition which includes the
  11 exchange of essential information “without delay or obstruction of the process.” See 2 Cal. Code

  12 Regs. § 11069(a).

  13          105.      As part of a timely, good-faith interactive process, an employer “shall analyze the
  14 particular job involved and the essential functions of the job.” See 2 Cal. Code Regs. § 11069(c)(5).

  15   An employer “shall identify potential accommodations and assess the effectiveness each would have
  16   in enabling the applicant to have an equal opportunity to … perform the essential function of the
  17   position held.” See 2 Cal. Code Regs. § 11069(c)(7). An employer “shall either grant the applicant
  18   or employee’s requested accommodation, or reject it after due consideration, and initiate discussion
  19   with the applicant or employee regarding alternative accommodations.” 2 Cal. Code Regs.
  20   § 11069(c)(1).
  21          106.      PLAINTIFF was willing to participate in an interactive process to determine whether
  22   reasonable accommodation could be made so that she would be able to perform the essential
  23   functions of her job.
  24          107.      As alleged above, the COMPANY and DOES did not initiate or participate in a
  25   timely, good-faith interactive process with the goal of providing reasonable accommodations.
  26          108.      As a proximate result of the COMPANY and DOES’ willful, knowing, and
  27   intentional conduct, as alleged above, PLAINTIFF has sustained and continues to sustain substantial
  28   losses of earnings and employment benefits, and has suffered and continues to suffer humiliation,
                                                      21
                                            COMPLAINT FOR DAMAGES
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   1   emotional distress, and physical and mental pain and anguish, all to her damage in a sum according
   2   to proof.
   3          109.    PLAINTIFF has incurred and continues to incur legal expenses and attorneys’ fees.
   4   Pursuant to California Government Code section 12965(b), PLAINTIFF is entitled to recover
   5   reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof).
   6          110.    The COMPANY and DOES committed the acts herein despicably, maliciously,
   7   fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFF, from an
   8   improper and evil motive amounting to malice, and in conscious disregard of the rights of
   9   PLAINTIFF. PLAINTIFF is thus entitled to punitive damages from the COMPANY and DOES in
  10   an amount according to proof.
  11                                       TENTH CAUSE OF ACTION
  12                       Retaliation for Opposing Practices Forbidden by FEHA
  13                            Violation of FEHA, Cal. Gov’t Code § 12940(h)
  14                        (By PLAINTIFFS Against the COMPANY and DOES)
  15          111.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  16   every allegation set forth above.
  17          112.    At all times herein mentioned, the FEHA required the COMPANY and DOES to
  18   refrain from retaliating against any employee for opposing practices forbidden by the FEHA or who
  19   asserts rights under the FEHA, including complaining of harassment, discrimination and retaliation
  20   on the basis of sex and/or gender, among other things. Cal. Gov’t Code § 12940(h).
  21          113.    As alleged herein, during PLAINTIFFS’ employment with the COMPANY,
  22 PLAINTIFFS were subjected to unlawful harassment, discrimination and retaliation based on their

  23 sex and/or gender, as well as their disability and/or medical condition, about which PLAINTIFFS

  24 complained to the COMPANY and DOES.

  25          114.    As alleged herein, the COMPANY and DOES retaliated against PLAINTIFFS by,
  26 among other things, altering the terms and conditions of their employment.

  27          115.    As a proximate result of the COMPANY and DOES’ retaliation against
  28 PLAINTIFFS, PLAINTIFFS have sustained and continue to sustain substantial losses of earnings
                                                      22
                                            COMPLAINT FOR DAMAGES
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   1   and other employment benefits, and have suffered and continue to suffer humiliation, emotional
   2   distress, and mental and physical pain and anguish, all to their damage in a sum according to proof.
   3          116.    PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
   4   Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover
   5   reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof.
   6          117.    The COMPANY and DOES committed the acts herein despicably, maliciously,
   7   fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an
   8   improper and evil motive amounting to malice, and in conscious disregard of the rights of
   9   PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES
  10   in an amount according to proof.
  11                                  ELEVENTH CAUSE OF ACTION
  12   Failure to Prevent, Investigate, and Remedy Harassment, Discrimination and/or Retaliation
  13                            Violation of FEHA, Cal. Gov’t Code § 12940(k)
  14                        (By PLAINTIFFS Against the COMPANY and DOES)
  15          118.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  16   every allegation set forth above.
  17          119.    California law requires that employers take reasonable steps to prevent and correct
  18   wrongful behavior, including but not limited to, harassing, discriminatory, and retaliatory behavior
  19   in the workplace. See Cal. Gov’t Code §12940(k). Pursuant to this statute, the COMPANY and
  20   DOES were required to take all reasonable steps to prevent harassment and retaliation based on
  21   PLAINTIFFS’ sex and/or gender, disability and/or other protected characteristics.
  22          120.    As alleged herein, the COMPANY and DOES violated the FEHA by failing to take
  23   all reasonable steps necessary to prevent the harassment, discrimination, and retaliation from
  24   occurring. Cal. Gov’t Code § 12940(k).
  25          121.    As alleged herein, the COMPANY and DOES were made aware of harassment,
  26   discrimination and retaliation against PLAINTIFFS, but did not take immediate or corrective action
  27   to prevent further harassment, discrimination or retaliation against PLAINTIFFS.
  28          122.    As a proximate result of the COMPANY and DOES’ willful, knowing, and
                                                     23
                                           COMPLAINT FOR DAMAGES
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   1   intentional failure to prevent, investigate, and remedy harassment, discrimination and retaliation
   2 against PLAINTIFFS, PLAINTIFFS have sustained and continue to sustain substantial losses of

   3 earnings and other employment benefits, and have suffered and continue to suffer humiliation,

   4   emotional distress, and mental and physical pain and anguish, all to their damage in a sum according
   5   to proof.
   6          123.    PLAINTIFFS have incurred and continue to incur legal expenses and attorneys’ fees.
   7 Pursuant to California Government Code section 12965(b), PLAINTIFFS are entitled to recover

   8   reasonable attorneys’ fees and costs (including expert costs) in an amount according to proof.
   9          124.    The COMPANY and DOES committed the acts herein despicably, maliciously,
  10   fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an
  11   improper and evil motive amounting to malice, and in conscious disregard of the rights of
  12   PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES
  13   in an amount according to proof.
  14                                   TWELFTH CAUSE OF ACTION
  15                                       Whistleblower Retaliation
  16                                 Violation of Cal. Lab. Code § 1102.5
  17                       (By PLAINTIFFS Against the COMPANY and DOES)
  18          125.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  19 every allegation set forth above.

  20          126.    At all relevant times, California Labor Code section 1102.5 was in effect and was
  21 binding on the COMPANY and DOES. Section 1102.5 states, “An employer, or any person acting

  22 on behalf of the employer, shall not retaliate against an employee for disclosing information… if the

  23 employee has reasonable cause to believe that the information discloses a violation of state or federal

  24 statute, or a violation of or noncompliance with a local, state, or federal rule or regulation….” Cal.

  25 Lab. Code § 1102.5(b).

  26          127.    California Labor Code section 1102.5(c) also states that “[a]n employer, or any person
  27 acting on behalf of the employer, shall not retaliate against an employee for refusing to participate

  28 in an activity that would result in a violation of state or federal statute, or a violation of or
                                                     24
                                           COMPLAINT FOR DAMAGES
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   1   noncompliance with a local, state, or federal rule or regulation.” Cal. Lab. Code § 1102.5(c).
   2          128.    At all relevant times, an employer is responsible for the acts of its managers, officers,
   3 agents, and employees. See Cal. Lab. Code § 1104.

   4          129.    As alleged herein and above, PLAINTIFFS engaged in activity protected by the
   5 California Labor Code when, among other things, PLAINTIFFS opposed harassment, discrimination

   6 and retaliation against them in the workplace, as well as NELSON’s potential drinking of alcohol

   7 while on duty, which endangered the lives of hundreds of passengers and fellow crew members. In

   8 response, the COMPANY and DOES retaliated against PLAINTIFFS by changing the terms and

   9 conditions of their employment, as alleged herein.

  10          130.    As a proximate result of the COMPANY and DOES’ willful, knowing, and
  11 intentional retaliation against PLAINTIFFS, have sustained and continue to sustain substantial losses

  12 of earnings and other employment benefits, and have suffered and continue to suffer humiliation,

  13 emotional distress, and mental and physical pain and anguish, all to their damage in a sum according

  14 to proof.

  15          131.    The COMPANY and DOES committed the acts herein despicably, maliciously,
  16 fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an

  17 improper and evil motive amounting to malice, and in conscious disregard of the rights of

  18 PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES

  19 in an amount according to proof.

  20                                 THIRTEENTH CAUSE OF ACTION
  21                                       Whistleblower Retaliation
  22                                   Violation of Cal. Lab. Code § 6310
  23                       (By PLAINTIFFS Against the COMPANY and DOES)
  24          132.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  25 every allegation set forth above.

  26          133.    At all relevant times, California Labor Code section 6310 was in effect and was
  27 binding on the COMPANY. Section 6310 prohibits employers from discharging, or in any manner

  28   discriminating against an individual in the terms and conditions of her employment “because the
                                                      25
                                            COMPLAINT FOR DAMAGES
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   1   employee has made a bona fide oral or written complaint to… his or her employer… of unsafe
   2   working conditions, or work practices, in his or her employment or place of employment…” Cal.
   3   Lab. Code § 6310(b).
   4          134.    As alleged herein and above, PLAINTIFFS engaged in activity protected by the
   5   California Labor Code when PLAINTIFFS complained to the COMPANY and DOES of unsafe
   6 working conditions caused by the harassment, assault, and battery they experienced, in addition to

   7   NELSON’s potential drinking of alcohol while on duty, which jeopardized the safety of the
   8 COMPANY’s employees. In response, the COMPANY and DOES retaliated against PLAINTIFFS

   9   by changing the terms and conditions of her employment, as alleged herein.
  10          135.    As a proximate result of the COMPANY and DOES’ willful, knowing, and
  11   intentional retaliation against PLAINTIFFS, PLAINTIFFS have sustained and continue to sustain
  12   substantial losses of earnings and other employment benefits, and have suffered and continue to
  13   suffer humiliation, emotional distress, and mental and physical pain and anguish, all to their damage
  14   in a sum according to proof.
  15          136.    The COMPANY and DOES committed the acts herein despicably, maliciously,
  16   fraudulently, and oppressively, with the wrongful intention of injuring PLAINTIFFS, from an
  17   improper and evil motive amounting to malice, and in conscious disregard of the rights of
  18   PLAINTIFFS. PLAINTIFFS are thus entitled to punitive damages from the COMPANY and DOES
  19   in an amount according to proof.
  20                                  FOURTEENTH CAUSE OF ACTION
  21                              Intentional Infliction of Emotional Distress
  22                           (By PLAINTIFFS Against ALL DEFENDANTS)
  23          137.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  24 every allegation set forth above.

  25          138.    A person intentionally inflicts emotional distress when he/she engages in extreme and
  26 outrageous conduct with either: (1) an intent to cause emotional distress; or (2) reckless disregard of

  27 the probability of causing emotional distress, and actually does cause severe emotional suffering.

  28 See Hughes v. Pair, 46 Cal.4th 1035, 1050 (2009).
                                                     26
                                           COMPLAINT FOR DAMAGES
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   1          139.    DEFENDANTS owed PLAINTIFFS a duty of care not to cause PLAINTIFFS
   2 emotional distress.

   3          140.    As alleged herein and above, DEFENDANTS engaged in unlawful behavior in
   4 relation to PLAINTIFFS that

   5 caused PLAINTIFFS severe and extreme emotional distress that exceeded the normal risks of the

   6 employment relationship.

   7          141.    DEFENDANTS were aware that treating PLAINTIFFS in the manner alleged above
   8 would cause PLAINTIFFS extreme hardship.

   9          142.    DEFENDANTS breached their duty to PLAINTIFFS by way of their own conduct,
  10 as alleged herein and above.

  11          143.    Such acts of DEFENDANTS were intentional, extreme, and outrageous, and were
  12 done with the intent to cause serious emotional distress or with reckless disregard of the probability

  13 of causing PLAINTIFFS serious emotional distress.

  14          144.    As a proximate result of DEFENDANTS’ extreme and outrageous conduct,
  15 PLAINTIFFS have suffered and continue to suffer humiliation, emotional distress, and mental and

  16 physical pain and anguish, all to their damage in a sum according to proof.

  17          145.    DEFENDANTS committed the acts herein despicably, maliciously, fraudulently, and
  18 oppressively, with the wrongful intention of injuring PLAINTIFFS, from an improper and evil

  19 motive amounting to malice, and in conscious disregard of the rights of PLAINTIFFS. PLAINTIFFS

  20 are thus entitled to punitive damages from DEFENDANTS in an amount according to proof.

  21                                  FIFTEENTH CAUSE OF ACTION
  22                               Negligent Infliction of Emotional Distress
  23                           (By PLAINTIFFS Against ALL DEFENDANTS)
  24          146.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  25   every allegation set forth above.
  26          147.    DEFENDANTS owed PLAINTIFFS a duty of care not to cause PLAINTIFFS
  27   emotional distress.
  28          148.    As alleged herein and above, DEFENDANTS breached their duty to PLAINTIFFS
                                                     27
                                           COMPLAINT FOR DAMAGES
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   1   by way of their own conduct, as alleged herein and above.
   2           149.   DEFENDANTS knew, or should have known, that treating PLAINTIFFS in the
   3 manner alleged above would cause PLAINTIFFS extreme hardship.

   4           150.   As a proximate result of DEFENDANTS’ negligent conduct, PLAINTIFFS have
   5 suffered and continue to suffer humiliation, emotional distress, and mental and physical pain and

   6 anguish, all to their damage in a sum according to proof.

   7                                  SIXTEENTH CAUSE OF ACTION
   8                                     Negligent Retention/Supervision
   9                        (By PLAINTIFFS Against the COMPANY and DOES)
  10           151.   PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  11 every allegation set forth above.

  12           152.   California law makes an employer liable for an employee’s negligence, recklessness
  13 or intentional wrongful acts when the employer knew or should have known that the employee was

  14 a risk to others. Doe v. Capital Cities, 50 Cal. App. 4th 1038 (1996).

  15           153.   Pursuant to California law, “An employer may be liable to a third person for the
  16 employer’s negligence in hiring or retaining an employee who is incompetent or unfit.’” Roman

  17 Catholic Bishop v. Superior Court, 42 Cal. App. 4th 1556, 1564-1565 (1996).            The Restatement
  18 (Second) of Agency section 213, provides in pertinent part, that “[a] person conducting an activity

  19 through servants or agents is subject to liability for harm resulting from his conduct if he is negligent

  20 or reckless: … (b) in the employment of improper persons or instrumentalities in work involving risk

  21 of harm to others…” Id.; see also, Evan F. v. Hughson United Methodist Church, 8 Cal. App. 4th

  22 828, 836 (1992); Delfino v. Agilent Technologies, Inc., 145 Cal. App. 4th 790, 815 (2006).

  23           154.   The COMPANY and DOES had a duty to protect PLAINTIFFS from NELSON’s
  24 tortious conduct, as alleged above. The COMPANY and DOES had knowledge of NELSON’s past

  25 misconduct that made him unfit for his position, including that other pilots had placed him on their

  26   “no-fly list,” but took no action in response. Instead, the COMPANY and DOES retained his
  27 employment, thereby ratifying his conduct, with a conscious disregard of PLAINTIFFS’ rights and

  28 safety.    The COMPANY and DOES are therefore liable for the deleterious consequences of
                                                      28
                                            COMPLAINT FOR DAMAGES
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   1   NELSON’s wrongful conduct. Moreover, NELSON was responsible to the COMPANY and DOES,
   2   which did not monitor his activities, and such failure to supervise NELSON’s activities is negligence
   3   per se.
   4             155.   As a proximate result of the COMPANY and DOES’ tortious conduct, PLAINTIFFS
   5 have sustained and continue to sustain substantial losses of earnings and other employment benefits,

   6 and have suffered and continue to suffer humiliation, emotional distress, and mental and physical

   7 pain and anguish, all to their damage in a sum according to proof.

   8                                 SEVENTEENTH CAUSE OF ACTION
   9                                 Failure to Reimburse Business Expenses
  10                                    Violation of Cal. Lab. Code § 2802
  11                         (By PLAINTIFFS Against the COMPANY and DOES)
  12             156.   PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
  13   every allegation set forth above.
  14             157.   At all relevant times herein, California Labor Code section 2802 requires an employer
  15   to indemnify an employee “for all necessary expenditures or losses incurred by the employee in
  16   direct consequence of the discharge of his or her duties….” Cal. Lab. Code § 2802(a). This includes
  17   costs associated with the use of personal cell phones for work-related purposes.
  18             158.   As alleged herein, PLAINTIFFS incurred necessary business-related expenses and
  19   costs that were not reimbursed by the COMPANY and/or DOES, including, costs for mileage and
  20   parking to meet with the COMPANY’s Human Resources representative following PLAINTIFFS’
  21   complaint about NELSON’s assault, battery, and harassment. In violation of Labor Code section
  22   2802, the COMPANY and DOES failed to reimburse PLAINTIFFS for these necessary expenses
  23   incurred for the COMPANY and/or DOES’ business.
  24             159.   PLAINTIFFS have been damaged in an amount according to proof at trial, and seek
  25   all reimbursements owed, interest, attorneys’ fees, expenses, and costs of suit.
  26             160.   As a proximate result of the COMPANY and DOES’ tortious conduct, PLAINTIFFS
  27   have sustained and continue to sustain substantial losses of earnings and other employment benefits,
  28   and have suffered and continue to suffer humiliation, emotional distress, and mental and physical
                                                       29
                                             COMPLAINT FOR DAMAGES
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   1   pain and anguish, all to their damage in a sum according to proof.
   2                                  EIGHTEENTH CAUSE OF ACTION
   3                                           Violation of Ralph Act
   4                                  Violation of Cal. Civ. Code section 51.7
   5                         (By PLAINTIFFS Against the COMPANY and DOES)
   6           161.    PLAINTIFFS incorporate by reference and reallege as if fully stated herein each and
   7   every allegation set forth above.
   8           162.    California Civil Code section 51.7(b) entitles individuals “to be free from any
   9 violence, or intimidation by threat of violence, committed against their persons or property because

  10 of … any characteristic listed or defined in subdivision (b) or (e) of Section 51,” including

  11 sex/gender.

  12           163.    Pursuant to California Civil Code section 52(b), “[w]hoever denies the right provided
  13 by Section 51.7 or 51.9, or aids, incites, or conspires in that denial, is liable for each and every offense

  14 for the actual damages suffered by any person denied that right and, in addition, the following:” (1)

  15 punitive damages; (2) a civil penalty of $25,000 to the person denied the right; and (3) attorneys’

  16 fees.

  17           164.    As set forth in the allegations above, DEFENDANTS committed acts of violence
  18 against PLAINTIFFS because of their sex/gender, as NELSON, an AGENT of THE COMPANY

  19 and DOES, committed violent acts against each of PLAINTIFFS, which were substantially

  20 motivated by PLAINTIFFS’ sex/gender.

  21           165.    As set forth in the allegations above, PLAINTIFFS were harmed by this misconduct,
  22 which was a substantial factor in causing PLAINTIFFS ongoing harm.

  23           166.    As a result of DEFENDANTS’ conduct, each of PLAINTIFFS has sustained and
  24 continues to sustain substantial losses of earnings and other employment benefits, and each has

  25 suffered and continues to suffer humiliation, emotional distress, and mental and physical pain and

  26 anguish, all to their damage in a sum according to proof.

  27           167.    As a result of DEFENDANTS’ conduct, PLAINTIFFS are also each entitled to a civil
  28 penalty in the amount of $25,000, punitive damages, and attorneys’ fees, in sums according to proof.
                                                       30
                                             COMPLAINT FOR DAMAGES
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   1                                        PRAYER FOR RELIEF
   2          Wherefore PLAINTIFFS JANETTE BECKMAN and LEEANNE HANSEN respectfully
   3 pray for judgment and relief against DEFENDANTS AMERICAN AIRLINES GROUP INC.,

   4 AMERICAN AIRLINES, INC., SIGSBEE “JOHN” NELSON, TIM MCCANN, CAMERON

   5 BINION, and DOES 1 through 25, inclusive, and each of them, as follows:

   6          1.     For compensatory damages, including but not limited to lost past and future wages,
   7 emotional distress damages, and damages for injury and medical expenses, in an amount to be

   8 ascertained at trial;

   9          2.     For civil penalties in the amount of $25,000 for each PLAINTIFF, pursuant to
  10 California Civil Code section 52(b);

  11          3.     For punitive damages in an amount sufficient to punish or make an example of
  12 DEFENDANTS pursuant to California Civil Code sections 52 and 3294, and all other applicable

  13 statutes;

  14          4.     For reimbursement of necessary business expenses PLAINTIFFS have incurred;
  15          5.     For all available injunctive, equitable and other relief, including remedies authorized
  16 by California Government Code section 12965(c);

  17          6.     For “affirmative relief” as defined in California Government Code section 12926(a);
  18          7.     For interest at 10% per annum, pursuant to California Labor Code section 2802,
  19 California Civil Code sections 3287, 3288, and/or any other applicable provision providing for pre-

  20 judgment interest;

  21          8.     For reasonable attorneys’ fees and costs, including expert costs;
  22          9.     For declaratory relief; and
  23 / / /

  24 / / /

  25 / / /

  26 / / /

  27 / / /

  28 / / /
                                                    31
                                          COMPLAINT FOR DAMAGES
Case 2:20-cv-07868-MWF-MRW Document 1 Filed 08/27/20 Page 51 of 57 Page ID #:51




   1          10.    For such further relief that the Court may deem just and proper.
   2

   3   DATED: July 2, 2020                             GUNN COBLE LLP
   4

   5                                                   By:     ~ .f-_-.
                                                             Ca~J. Coble
   6                                                         Beth . unn
   7                                                   Attorneys for Plaintiffs
                                                       JANETTE BECKMAN and LEEANNE
   8                                                   HANSEN
   9

  10

  11
                                       DEMAND FOR JURY TRIAL
  12
              PLAINTIFFS JANETTE BECKMAN and LEEANNE HANSEN hereby demand a jury trial
  13
       with respect to all issues triable of right by jury. The amount demanded exceeds $25,000. See Cal.
  14
       Gov't Code § 72055.
  15

  16
       DATED: July 2, 2020                             GUNN COBLE LLP
  17

  18
  19
                                                       By:      ~9-
                                                             Beth
                                                             cathe'.coble
  20

  21                                                   Attorneys for Plaintiffs
                                                       JANETTE BECKMAN and LEEANNE
  22                                                   HANSEN

  23

  24

  25

  26

  27

  28
                                                       32
                                          COMPLAINT FOR DAMAGES
Case 2:20-cv-07868-MWF-MRW Document 1 Filed 08/27/20 Page 52 of 57 Page ID #:52




                     EXHIBIT B
Electronically FILED by Superior Court of California, County of Los Angeles on 07/30/2020 02:32 PM Sherri R. Carter, Executive Officer/Clerk of Court, by S. Bolden,Deputy Clerk
                        Case 2:20-cv-07868-MWF-MRW Document 1 Filed 08/27/20 Page 53 of 57 Page ID #:53
                                                                                                     P                                                                                - 1
             ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar numbei              and                                                               FOR COURT USE    ONL   '7
                                 address,'sthenne
                        Coble SBN 223461  I


               Gunn Cobls LLP
               101 S 1st Street 407 Burbsnk, CA 91502

              TELEPHQNE No      (818) 900 0898 FAx No (8187 900 0723 (E MAIL ADDREss
                                                       I                                    oolmrai,'ag .ecg ncoaleoc   .


                   ATTORNEY FOR (Namei Plamtiff Janette Beckman LeeAnne Hansen



             LOS ANGELES COUNTY SUPERIOR COURT
                         STREETAooREss 111 NORTH HILL ST
                         MAILING ADDRESS

                        CITY AND ZIP CODE       LOS ANGELES, CA 9001 2
                            BRANCH NAME         CENTRAL DISTRICT
                    PLAINTIFF           Jsnette Beckmsn; LseAone Hsnsen                                                          C SE NUMBER 20STCV25029 Dept 15

              DEFENDANT Amencsn Airffnes Group, Inc, et sl

                                                                                                                                   Ref No or File No
                                                           PROOF OF SERVICE OF SUMMONS

                                                                 (Separate proof of service is required for each party served.)
         1. At       the time of service was at least 18 years of age and not a party to this action.
                                                   I


         2     I    served copies of:
               a.R Summons
               b.2 Complaint
               c   Alternatwe Dispute Resolution (ADR) package
               d R Case Cover Sheet (served in complex cases only)
                                Civil
               e   Cross-complaint
               f.2 other (specify documents): Addendum, Notice of Case Assignment
                                             as shown on documents served)
         3 a. Party served (specify name of party
               AMERICAN AIRLINES, INC., a Delaware corporation

               b        R Person (other than the partyin item 3a) served on behalf of an entity or as an authonzed agent (and not a person under
                           item 5b on whom substituted service was made) (sperdfy name and relationship to the party named in item 3a):
                        Albert Demonte - Authorized to Accept Service
        4 Address where the party was served: 818 W                             7th St Ste 930
                                                                           Los Angeles, CA 90017-3476
         5     I    se~rv d       the party (check proper box)
               0 L-I            by personal service. personally dehvered the documents listed in item 2 to the party or person authonzed to
                                                             I



                                receive service of process for the party (I) on(dale): 7(28)2020 (2} at(lime) 11:55 AM

                                by    substituted service. On (dele): at (lime). I left the documents listed in item 2 with or
                                in   the presence of (name and litle or relationship fo person indicated in item 3b).

                            (1)           (business) a person at least           18 years of age apparently in charge at the office or usual place of business of the
                                          person to be served          I   informed him of her of the general nature of the papers

                            (2)           (home) a competent member of the househoid (at least 18 years of age) at the dwelhng house or usual place of
                                          abode of the party informed him or her of the general nature of the papers.
                                                                   I




                            (3)           (physical address unknown) a person at least 18 years of age apparently tn charge at the usual mailing
                                          address of the person to be served, other than a United States Postal Service post office box. informed him of  I

                                          her of the general nature of the papers.
                            (4)           Ithereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                                          place where the copies were left (Code Civ. Proc., 941 5 20). I mailed the documents on
                                          (dale): from (city).                                                or     a declaration of maihng is attached
                            (5)           I   attach a declaration of diligence statmg actions taken first to attempt personal service.



                                                                                                                                                                                   Pagc1 f2
        Form APO o df Mandatory Use                                                                                                                           Code of C»I P ocedure 9 f17 10
        J d    C   c f Calfornia
                    I       I
                                                                                PROOF OF SERVICE OF SUMMONS
        POS 010 (Rey January I, 2007(                                                                                                                            POS010-1/CW351237
             Case 2:20-cv-07868-MWF-MRW Document 1 Filed 08/27/20 Page 54 of 57 Page ID #:54
            PETITIONER Janette aeckman; LeeAnne Hansen                                                                         CASE NUMBER.

                                                                                                                                             20STCV25020
           RESPONDENT American Airlines Group, Inc., et al.


      c,           by mail and acknowledgment of receipt of service.                 I   mailed the documents listed in item 2 to the party, to the address
                   shown in item 4, by first-class mail, postage prepaid,
                   (1) on (dale).                                                          (2) from (city).
                   (3)               with two copies of the Notice   and Acknow/edgmenf of Receiptand a postage-paid return envelope addressed to me.
                                      (A//ach completed Notice and Acknowledgement of Receipt.} {Code Civ. Proc.,       {j   415.30.)
                   (4)    to an address outside California with return receipt requested (Code Civ Proc., k 415 40                      )
      d            by other means (specify means of service and authonz/ng code section):


          Additional page describing service is attached.
6. The "Notice to the Person Served" (on the summons) was completed                            as follows
      a.           as an individual defendant.
      Ig           as the person sued under the fictitious name of (specify)
      c            as occupant.
      d. j — {     On behalf of (specify). AMERICAN AIRLINES, INC., a Delaware corporation
                   under the following Code of Ciwl Procedure section.
                                             416 10   (corporation)                             415.95   {business organization, form unknown)
                                             416.20   (defunct corporation)               H     416.60   (minor)
                                             416 30   (joint stock company/assoination)   2     416.70   {ward or conservatee)
                                             416 40   (assotnation or partnership)        U     416.90   (authorized person)
                                             416.50   (pubkc entity)                            415.46   (occupant)
                                                                                                other
7.    Person who served papers
      a. Name   Arman Mardigian - Cal West Attorney Services, Inc
      b. Address. 1201 W. Temple Street Los Angeles, CA 90026
      c. Telephone number: {213) 353-9100
      d The fee for service was. $ 60.00
      e 1am
            (1)           not a registered California process server.
            (2)
            (3)
                  + exempt
                    registered
                  L~J
                                  from registration under Business and Professions Code section 22350(b).
                                     California process server.
                        (i)     Lj owner                       employee         Zj independent contractor.
                        (n)         Registration No.. 6668
                        (iii)       County Los Angeles

8    g       I


             or
                 declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct

9,           I   am a California sheriff or marshal and certify that the foregoing is true and correct.
                                                                      I




                  Date 7/28/2020
                  Cal West Attorney Services, Inc
                  1201 W. Temple Street
                  Los Angeles, CA 90026
                  (213) 353-9100
                  www.calwest.info



                                            Arm nM r      i   ian
                         (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL                                                  (SIGNATURE)




Pos   010 IRe Ja           r    I   2007]                                                                                                                   Pag 20/2
                                                                    PROOF OF SERVICE OF SUMMONS
                                                                                                                                                  POS-010/CW35'1 237
Case 2:20-cv-07868-MWF-MRW Document 1 Filed 08/27/20 Page 55 of 57 Page ID #:55




                    EXHIBIT C
                   Case 2:20-cv-07868-MWF-MRW Document 1 Filed 08/27/20 Page 56 of 57 Page ID #:56
Electronically FILED by Superior Court of Californ ia, County of Los Angeles on 0811412020 12:58 PM Sherri R. Carter, Executive Officer/Clerk of Court by A. Miro, Deputy Clerk
                                                                                                                     ,..                                                POS-010
       ATTORNEY OR PARTY WITHOUT ATTORNEY (Nam", State Bar numb.,,, and address)                                                                 FOR COURT USE ONLY ·

     ....   Catherine Coble I SBN: 223461
            Gunn Coble LLP
            101 S. 1st Street 407 Burbank, CA 91502
            TELEPHONE NO.: (618) 900-0695 j FAX NO. (81B) 900-0723 IE-MAIL ADDRESS /Optional):maggia@9unncob!a.com            '.
             ATTORNEY FOR (Name): Plaintiff: Janette Beckman; LeeAnne Hansen


       LOS ANGELES COUNTY SUPERIOR COURT
                   STREET ADDRESS:     111 NORTH HILL ST.
                   MAILING ADDRESS.:

                   CITY AND ZIP CODE: LOS   ANGELES, CA 90012
                         BRANCH NAME: CENTRAL     DISTRICT

               PLAINTIFF: Janette Beckman; LeeAnne Hansen                                                                  C ,SE NUMBER: 20STCV25029 Dept: 15

            DEFENDANT: American Airlines Group, Inc., et al.

                                                                                                                             Ref. No. Of File No.:
                                                 PROOF OF SERVICE OF SUMMONS                                                                            M

                                                        (Separate proofof service is required for each party served.)

      1. At the time of service I was at least 18 years of age and not a party tci this action.
      2. I served copies of:

             a.    lZ:l Summons
             b.    2J Complaint                                                ·
             c. D        Alternative Dispute Resolution (ADR) package
            .d. 0        Civil Case Cover Sheet (served in complex cases only)
             e. D
               Cross-complaint
             f. fZI
               other (specify documents): Addendum,Notice of Case Assignment
      3. a. Party served (specifyname of party as shown on documents served):
             AMERICAN AIRLINES GROUP INC.,a Delaware Corp.

             b.    ~     .Person (other than the party in item 3a) served cin behalf of ah entity or as an authorized agent (and not a person under
                         item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                   Kim Hightower. - Intake Specialist/Authorized to Accept
      4. Address where the party was served: 1999 Bryan St Ste 900
                                             Dallas, TX 75201-3140

      5. I served the party (check proper box)                            ·
         a.        fZI
                by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                receive service of process for the party (1) on (date): 8/4/2020 (2) at (time): 12:05 PM

              b.   D      by substituted service. On (date): at (time): I left the documents listed in item 2 with or
                          in the presence of(name and title or relationship to person indicated in item 3b): ·

                         (1)   D   (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                                   person to oe served. 1 informed nim of her of the general nature of the papers.       .              · . .
                         (2)   D   (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                                   abode of the party_ I informed him or her of the general nature of the papers.                 ·
                         (3)   D     (~hysical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address
                                     of tf\e person to be served, other than a United States Postal Service post office box. I informed him of lier of the
                                   . general nature of the papers.
                         (4)   D   I. thereafter mailed (by first-class, postage prepaid) copies of the documents- to the person to be served at the
                                   place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on         .
                                   (date): from (city):                                               or             D
                                                                                                             a declaration of mailing is attached.

                         (5)   D    I attach a declaration of diligence stating actions taken first to attempt personal service.




                                                                                                                                                                          Pa ge 1 of2
                                                                                                                                          Code of Civil Procedure, § 417 .1 0
        ji:Ci~P8~~~~1~f~iiftr~~ry Use                                  PR00F OF SERVICE OF SUMMONS                                                      POS010-1/CW351242
        POS-010 [Rev. January 1, 2007]
          Case 2:20-cv-07868-MWF-MRW Document 1 Filed 08/27/20 Page 57 of 57 Page ID #:57

          PETITIONER: Janette Beckman; LeeAnne Hansen                                                           CASE NUMBER:

                                                                                                                         · 20STCV25029
     .RESPONDENT: American Airlines Group, Inc., et al.


     c.   D     by mail and acknowledgment of receipt of service. I mailed the documents)isted in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                                  (2) from (city):
                (3)   0    with two copies of the Notice and Acknowledgment of Receipt and a po.stage-paid return envelope addressed to me.
                       ·   (Attach completed Notice and Acknowledgement of Receipt) (Code Civ. Proc.,§ 415.30.)
                (4)   Dto an address outside California with return receipt requested. (Code Civ. Proc.,§ 415.40.)
     d.   D     by other means (specify means of service and authorizing code section):



          I;]   Additional page describing service is attached.
6. The ''Notice to the Person Served" (on the summons) was completed as follows:·
     a. D as an individual defendant.
     b. D as the person sued under the fictitious name of (specify):
     c. D as occupant.                                    .
     d. fZ:] On behalf of (specify): AMERICAN AIRLINES GROUP INC.,a Delaware Corp.
                under the following Code of Civil Procedure section:
                              ~    416.10   (corporation)                       D    415.95   (business organization, form unknown)
                              D    416.20   (defunct corporation)               D    416.60   (minor)
                              D    416.30   (joint stock company/association)   D    416.70   (ward or conservatee)
                              D    416.40   (association or partnership)        D    416.90   (authorized person)
                              D    416.50   (public entity)                     D    415.46   (occupant)
                                                                                D    other:
7. Person who served papers
   a. Name: Keith Smith - Cal West Attorney Services, Inc
   b. Address: 1201 W. Temple Street Los Angeles, CA 90026
   c. Telephone number: (213) 353-9100
   d. The fee for service was: $ 150.00
     e. lam:
          (1)   ~ not a registered California process server.           ·•      ·.
          (2)       exempt f.rom registration under Business and Professions Code section 22350(b).
          (3)       rea!§.lered California pr~ss server:
                  (i) LJ owner               U employee                 D
                                                                       independent contractor.
                  (ii) Registration No.:
                  (iii) County:

8.   ~     I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.   D     I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 8/14/2020
                Cal West Attorney Services, Inc
                1201 W. Temple Street
                Los Angeles; CA 90026
                (213) 353-9100
                www.calwest.info




                                    Keith Smith
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)
                                                                                      •

POS-010 [Rev January 1, 2007]                                                                                                               Page 2 of2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-01 0/CW351242 ·
